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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA

TROY FATH, VINCENT PUMA, and                   Civ. No.:
HIGINIO BAUTISTA individually and on
behalf of others similarly situated,
                                                           CLASS ACTION

                 Plaintiffs,

           vs.                                          COMPLAINT AND
                                                         JURY DEMAND
HONDA NORTH AMERICA, INC.,
AMERICAN HONDA MOTOR CO.,
INC., and HONDA MOTOR COMPANY,
LTD.,

                           Defendants.

      Plaintiffs Troy Fath, Vincent Puma and Higinio Bautista bring this action

against Defendants Honda North America, Inc. (“Honda North America”),

American Honda Motor Co., Inc. (“American Honda”), and Honda Motor

Company, Ltd. (“Honda Motor Company”) (collectively “Defendants” or

“Honda”), by and through their attorneys, individually and behalf of all others

similarly situated, and allege as follows:

                                 INTRODUCTION

      1.     This is a class action lawsuit brought by Plaintiffs on behalf of

themselves and a class of current and former Honda vehicle owners and lessees of

model years (“MY”) 2015-18 Honda CR-V and 2016-18 Honda Civic vehicles

equipped with “Earth Dreams” 1.5L, 2.0L and 2.4L direct injection engines (the

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“Class Vehicles” or “Vehicles”).1

      2.     This action arises from Defendants’ failure, despite their longstanding

knowledge of this material and manufacturing defect, to disclose to Plaintiffs and

other consumers that the Class Vehicles are predisposed to an engine defect that

causes fuel dilution of the engine oil resulting in decreased oil viscosity, premature

wear and ultimate failure of the engines, engine bearings and other internal engine

components and an increased cost of maintenance (the “Engine Defect”). Such

premature failures can also result in stalling events and other dangerous situations

for Class Vehicle occupants and others on the road.

      3.     Significantly, and as a result of the Engine Defect, the engine oil within

the Class Vehicles will be caused to lose its original viscosity, meaning the

lubricating properties of the oil diminish and become less capable of withstanding

the higher loads of an internal combustion engine. This can result in contact between

metal surfaces within the engine, leading to rapid wear of internal bearings, the

rotating assembly and other internal parts that rely on lubrication to function

correctly.

      4.     Not only did Honda actively conceal the fact that the Class Vehicle’s

engines were not assembled and manufactured correctly (and require costly repairs



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 Plaintiffs reserve the right to amend or add to the vehicle models included in the
definition of Class Vehicles after conducting discovery.

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to fix), they did not reveal that the existence of this defect would diminish the

intrinsic and resale value of the Class Vehicles.

      5.     Honda has long been aware of the Engine Defect. Despite its

longstanding knowledge of this defect, Honda has been unable to adequately repair

the Class Vehicles when the defect manifests.

      6.     Many owners and lessees of Class Vehicles have communicated with

Defendants and their agents to request that Honda remedy and/or address the

Engine Defect and/or resultant damage at no expense. Defendants have failed

and/or refused to do so – often conveying to Vehicle owners and lessees that Class

Vehicles are operating as intended and therefore cannot be repaired under warranty

or otherwise.

      7.     For customers whose Vehicles are within the Power Train Warranty

period (which extends for the shorter of five years or 60,000 miles), Honda has

done nothing to address or correct the Engine Defect when it manifests in the Class

Vehicles. Instead, Honda has blamed Class members for not driving the Class

vehicles for longer distances.

      8.     Despite notice and knowledge of the Engine Defect from the

numerous consumer complaints it has received, information received from Honda

dealerships, pre-sale durability testing, National Highway Traffic Safety

Administration (“NHTSA”) complaints, and its own internal records, Honda has



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not recalled the Class Vehicles to repair the Engine Defect, offered its customers a

suitable repair or replacement free of charge, or offered to reimburse its customers

who have incurred out of pocket expenses to repair the Engine Defect.

      9.     As a result of Defendants’ unfair, deceptive and/or fraudulent business

practices, owners and/or lessees of Class Vehicles, including Plaintiffs, have

suffered an ascertainable loss of money and/or property and/or loss in value. The

unfair and deceptive trade practices committed by Defendants were conducted in a

manner giving rise to substantial aggravating circumstances.

      10.    Had Plaintiffs and other Class members known about the Engine

Defect at the time of purchase or lease, they would not have purchased or leased

the Class Vehicles, or would have paid substantially less for the Class Vehicles.

      11.    As a result of the Engine Defect and the considerable monetary costs

associated with attempting to repair such defect, Plaintiffs and Class members have

suffered injury in fact, incurred damages and have otherwise been harmed by

Honda’s conduct.

      12.    Accordingly, Plaintiffs bring this action to redress Defendants’

violations of the Minnesota Prevention of Consumer Fraud Act (“MPCFA”),

Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), California’s

Consumer Legal Remedies Act (“CLRA”), California’s Unfair Competition Law

(“UCL”), and also to seek recovery for Defendants’ breach of express warranty,



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breach of implied warranty, common law fraud, breach of the covenant of good

faith and fair dealing and, alternatively, unjust enrichment.

                           JURISDICTION AND VENUE

      13.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §1332 of the Class Action Fairness Act of 2005 because: (i) there are

100 or more class members, (ii) there is an aggregate amount in controversy

exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal

diversity because at least one plaintiff and one defendant are citizens of different

states. This Court has supplemental jurisdiction over the state law claims pursuant

to 28 U.S.C. § 1367.

      14.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391

because Defendants transact business in this district, are subject to personal

jurisdiction in this district, and therefore are deemed to be citizens of this district.

Additionally, Defendants have advertised in this district and have received

substantial revenue and profits from their sales and/or leasing of Class Vehicles in

this district; therefore, a substantial part of the events and/or omissions giving rise

to the claims occurred, in part, within this district.

      15.    This Court has personal jurisdiction over Defendants because they

have conducted substantial business in this judicial district, and intentionally and

purposefully placed Class Vehicles into the stream of commerce within the



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districts of Minnesota and throughout the United States.

                                  THE PARTIES
Plaintiff Troy Fath

      16.    Plaintiff Troy Fath is a citizen of the State of Minnesota and resides in

Hermantown, Minnesota.

      17.    In or around July 2017, Plaintiff Fath purchased a new 2017 Honda

CR-V with a 1.5-liter Earth Dreams engine from Luther St. Cloud Honda, an

authorized Honda dealer and repair center located in Waite Park, Minnesota.

      18.    Plaintiff purchased (and still owns) this vehicle, which is used for

personal, family and/or household uses. His vehicle bears Vehicle Identification

Number: 5J6RW2H83HL049967.

      19.    On or about January 10, 2018, with approximately 5,200 miles on the

odometer, Plaintiff Fath’s wife was traveling in the vehicle with their young

daughter. Suddenly, and without warning, the vehicle went into limp mode and the

warning lights on the dashboard illuminated. Plaintiff’s wife immediately pulled

over and contacted Plaintiff Fath. As a result, Plaintiff Fath towed the vehicle to

Krenzen Honda, an authorized Honda dealer and repair center located in Duluth,

Minnesota for diagnosis and repair. The service advisor showed Plaintiff Fath that

the engine oil level in the vehicle was excessively high. After having the vehicle

for approximately two weeks, Krenzen Honda replaced the engine oil and filter.

      20.    In or around February 2018, with approximately 6,800 miles on the

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odometer, Plaintiff Fath noticed a smell of gasoline emanating from and within his

vehicle. As a result, on or about February 20, 2018, he again presented his vehicle

to Krenzen Honda for diagnosis and repair. Krenzen Honda diagnosed the cause

as “GAS SMELL” and changed the engine oil and filter at no charge.

      21.    In or around April 2018, with approximately 7,600 miles on the

odometer, Plaintiff Fath noticed the engine oil in his vehicle was over the full

mark. As a result, on or about April 10, 2018, he again presented his vehicle to

Krenzen Honda. Krenzen Honda diagnosed the cause as “OIL OVER FULL” and

changed the engine oil and filter at no charge. The technician also included the

following comments on the service invoice: “CHANGED OIL AND FILTER. OIL

WAS ABOUT 1QT OVER FULL. HONDA IS IN THE PROCESS OF

CREATING A SOLUTION.”

      22.    In or around May 2018, with approximately 8,900 miles on the

odometer, Plaintiff Fath noticed the engine oil in his vehicle was contaminated

with fuel. As a result, on or about May 25, 2018, he again presented his vehicle to

Krenzen Honda. Krenzen Honda diagnosed the cause as “FUEL IN OIL” and

changed the engine oil and filter at no charge. The technician also included the

following comments on the service invoice: “lof oil and filter change completed oil

was 9mm over full.”

      23.    Plaintiff has previously contacted Defendants regarding the oil



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dilution and fuel smell in his vehicle. Defendants have acknowledged that a

problem exists but there is currently no fix for the issue.

      24.    Plaintiff Fath has suffered an ascertainable loss as a result of

Defendants’ omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      25.    None of the Defendants, or any of their agents, dealers or other

representatives informed Plaintiff of the existence of the Engine Defect prior to

purchase.

Plaintiff Vincent Puma

      26.    Plaintiff Vincent Puma is a citizen of the State of Florida and resides

in St. Augustine, Florida.

      27.    In or around November 2015, Plaintiff Puma purchased a new 2016

Honda CR-V with a 2.4-liter Earth Dreams engine from Coggin Honda of St.

Augustine (“Coggin Honda”), an authorized Honda dealer and repair center located

in St. Augustine, Florida.

      28.    Plaintiff purchased (and still owns) this vehicle, which is used for

personal, family and/or household uses. His vehicle bears Vehicle Identification

Number: 2HKRM3H39GH504975.

      29.    On or about October 31, 2016, with approximately 2,900 miles on the



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odometer, Plaintiff Puma smelled gasoline in the engine’s oil and noticed an

increase in fluid level on the vehicle’s oil dipstick. As a result, Plaintiff Puma

presented his vehicle to Coggin Honda for diagnosis and repair. The service

advisor showed Plaintiff Puma that the gasoline smell in the vehicle’s engine oil

was similar to other new CR-V vehicles located at the dealership. The dealership

then replaced the engine oil and filter at a charge of $49.95 to Plaintiff Puma.

Coggin Honda did not address or document the increased fluid level regarding the

vehicle’s engine oil.

      30.    On or about September 22, 2017, with approximately 4,760 miles on

the odometer, Plaintiff Puma again smelled gasoline in the engine’s oil and noticed

an increase in fluid level on the vehicle’s oil dipstick. As a result, Plaintiff Puma

presented his vehicle to Coggin Honda for diagnosis and repair. On this occasion,

and per the notes contained on the service invoice, the Coggin Honda technician

noted: “OIL SMELLS NORMAL TO ME AT THIS TIME.” Coggin Honda;

however, did not provide an explanation for the increase in fluid level related to the

vehicle’s engine oil. The dealership then replaced the engine oil and filter at a

charge of approximately $31.12 to Plaintiff Puma. Coggin Honda did not address

or document the increased fluid level regarding the vehicle’s engine oil.

      31.    In or around April 2018, with approximately 6,300 miles on the

odometer, Plaintiff Puma again noticed a smell of gasoline when checking the oil



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and also that the oil level had again increased. As a result, Plaintiff Puma again

presented his vehicle to Coggin Honda for diagnosis and repair. On this occasion,

and per the notes contained on the service invoice, Coggin Honda acknowledged

that “REMNANT FUEL ODOR ON THESE VEHICLES ARE CREATED BY

DIRECT INJECTION FUEL SYSTEM.” Coggin Honda; however, did not

provide an explanation for the increase in fluid level related to the vehicle’s engine

oil. As a result, Coggin Honda changed the engine oil and filter at no charge. At

this time, Coggin Honda also informed Plaintiff Puma that the narrow design of the

vehicle’s crankcase would show increased fluid levels.

      32.    Plaintiff Puma has suffered an ascertainable loss as a result of

Defendants’ omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      33.    None of the Defendants, or any of their agents, dealers or other

representatives informed Plaintiff of the existence of the Engine Defect prior to

purchase.



Plaintiff Higinio Bautista

      34.    Plaintiff Higinio Bautista is a citizen of the State of California and

resides in Lake Forest, California.



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      35.    In or around July 2017, Plaintiff Bautista purchased a new 2016

Honda Civic with a 1.5-liter Earth Dreams engine from Norm Reeves Honda,

(“Reeves Honda”), an authorized Honda dealer and repair center located in Lake

Forest, California.

      36.    Plaintiff purchased (and still owns) this vehicle, which is used for

personal, family and/or household uses. His vehicle bears Vehicle Identification

Number: 2HGFC1F94GH649417.

      37.    On or about June 28, 2017, with approximately 13,500 miles on the

odometer, Plaintiff Bautista was operating his vehicle when he suddenly heard a

loud ticking noise from the engine compartment. The vehicle then stalled and the

warning lights on the dash illuminated. Thereafter, Plaintiff Bautista’s vehicle

would not start or stay running.

      38.    As a result, Plaintiff Bautista had his vehicle towed to Penske Honda

(“Penske Honda”), an authorized Honda dealer and repair center located in

Ontario, California, for diagnosis and repair. Penske Honda concluded that the fuel

within the fuel tank of the vehicle was contaminated and recommended Plaintiff

Bautista pay to remove the gas tank, clean and reinstall, as well as, fuel system

treatment service, and also replacement of the fuel injectors and high-pressure fuel

pump. Plaintiff Bautista declined these services. Thereafter, he paid Penske




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Honda a $125.00 fee for diagnosis and had his vehicle towed to Reeves Honda.

      39.    On or about August 11, 2017, Reeves Honda determined that the

intake camshaft within the engine of Plaintiff’s vehicle had broken. Reeves Honda,

with assistance of Defendant’s technical hotline, determined that plastic debris at

the head gasket area of Plaintiff’s vehicle had caused the camshaft failure. As a

result, neither Defendant nor Reeves Honda was willing to offer warranty coverage

for the engine repair. Plaintiff was forced to pay $2,087.00 to Reeves Honda for

the repair of his vehicle related to the Engine Defect.

      40.    Upon information and belief, the engine failure experienced by

Plaintiff Bautista was a result of the Engine Defect alleged in the Class Vehicles.

      41.    Plaintiff Bautista continues to notice a smell of gasoline when

checking the oil, as well as, an increase in oil level within the vehicle.

      42.    Plaintiff Bautista has suffered an ascertainable loss as a result of

Defendants’ omissions and/or misrepresentations associated with the Engine

Defect, including, but not limited to, out of pocket loss associated with the Engine

Defect and future attempted repairs and diminished value of his vehicle.

      43.    None of the Defendants, or any of their agents, dealers or other

representatives informed Plaintiff of the existence of the Engine Defect prior to

purchase.

The Defendants



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      44.    Defendants Honda North America, American Honda, and Honda

Motor Company are automobile design, manufacturing, distribution, and/or

servicing corporations doing business within the United States. Furthermore,

Defendants design, manufacture, distribute, market, service, repair, sell and lease

passenger vehicles, including the Class Vehicles.

      45.    Defendant Honda Motor Company, Ltd., 2-1-1, Minami-Aoyama,

Minato-ku, Tokyo 107-8556, Japan is an automobile design, manufacturing, sale,

leasing, distribution, and servicing corporation organized under the laws of Japan.

Honda Motor Company is the parent corporation of American Honda and Honda

North America.

      46.    Honda North America has its principal place of business at 700 Van

Ness Avenue, Torrance, California 90501-1486. American Honda has its principal

place of business at 1919 Torrance Boulevard, Torrance, California 90501-2746.

      47.    Upon information and belief, Defendant Honda Motor Company

communicates with Defendants Honda North America and American Honda

concerning virtually all aspects of the Honda products it distributes within the

United States.

      48.    Upon information and belief, the design, manufacture, distribution,

service, repair, modification, installation and decisions regarding the engines

within the Class Vehicles were performed exclusively by Defendants.



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      49.    Upon information and belief, Defendants develop the owner’s

manuals, warranty booklets and information included in maintenance

recommendations and/or schedules for the Class Vehicles.

      50.    Defendants Honda North America, American Honda, and Honda

Motor Company engage in continuous and substantial business in Minnesota.

                 TOLLING OF STATUTES OF LIMITATION

      51.    Any applicable statute(s) of limitations has been tolled by Defendants’

knowing and active concealment and denial of the facts alleged herein. Plaintiffs

and members of the Class could not have reasonably discovered the true, latent

defective nature of the Engine Defect until shortly before this class action litigation

was commenced.

      52.    Defendants were and remain under a continuing duty to disclose to

Plaintiffs and members of the Class the true character, quality and nature of the

Class Vehicles and that it will require costly repairs and diminishes the resale value

of the Class Vehicles. As a result of the active concealment by Defendants, any

and all applicable statutes of limitations otherwise applicable to the allegations

herein have been tolled.

                           FACTUAL ALLEGATIONS

A.    The Engine Defect within the Class Vehicles.

      53.    The Honda CR-V was introduced in the United States in 1996. Honda



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first introduced the Earth Dreams 2.4L engine in the model year 2015 CR-V.

Production of the fifth generation CR-V began in late 2016, with sales beginning

on or about December 21, 2016 as a 2017 model year. The MY 2017-18 CR-V

vehicles were offered in “EX”, “EX-L” and “Touring” trim levels and came

standard with the 1.5L turbocharged Earth Dreams engine while the “LX” trim

level came standard with the 2.4L Earth Dreams engine. (CR-V Class Vehicles).

      54.    The Honda Civic was introduced in the United States in 1972. The

tenth-generation Civic sedan, the subject of this matter, was first unveiled in

September 2015, for the 2016 model year. The MY 2016-18 Civic vehicles were

offered in “EX-T”, “EX-L”, “Touring” and “Si” trim levels and came standard

with the 1.5L turbocharged Earth Dreams engine while the “EX” and “LX” trims

came standard with the 2.0L Earth Dreams engine. (Civic Class Vehicles).

      55.    Earth Dreams Technology is Honda's latest generation of engines

which attempt to increase fuel-efficiency and reduce environmental impact. Honda

attempts to accomplish these goals in the Class Vehicles by employing variable

timing control, direct injection technology and use of an Atkinson cycle. Upon

information and belief, Honda has also implemented extensive friction reduction

measures including reduced tension piston and oil control rings. The below picture

depicts the 1.5L Earth Dreams engine contained in some of the Class Vehicles.




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      56.    As background, the engines contained in the Class Vehicles use four

reciprocating pistons to convert pressure into a rotating motion. Gasoline is mixed

with air in the combustion chambers of the engine. To generate such rotating

motion, a four-step sequence is used (the “Combustion Cycle”). First, the intake

stroke begins with the inlet valve opening and a vaporized fuel mixture is pulled

into the combustion chamber. Second, in most vehicles the compression stroke

would begin with the inlet valve closing and the piston beginning its movement

upward, compressing the fuel mixture in the combustion chamber. However, in

the Class Vehicles, the Atkinson cycle modifies that process by leaving the intake

valve open for the first moments of the compression stroke, as the piston travels



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toward top dead center, which effectively lowers the compression ratio and reduces

the force on the piston during the power stroke. Third, the power stroke begins

when the spark plug ignites the fuel mixture, expanding the gases and generating

power that is transmitted to the crankshaft. And fourth, the exhaust stroke begins

with the exhaust valve opening and the piston moving back up, forcing the exhaust

gases out of the cylinder. The exhaust valve then closes, the inlet valve opens, and

the Combustion Cycle repeats itself. A diagram of a Combustion Cycle is below:




      57.    In the Class Vehicles, a mixture of the unburned air and gasoline is

pulled down by the piston, slipping by the piston and oil control rings, and going

directly into the crankcase, which is the protective cover that insulates the

crankshaft. This is commonly referred to as “blow-by” and it is undesirable

because the unburned gasoline in the mixture enters the engine’s crankcase and can



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significantly contaminate the engine oil contained in the oil pan.

      58.    To reduce the risk of crankcase contamination and improve vehicle

emissions, the positive crankshaft ventilation (“PCV”) system was invented in the

early 1960s. The PCV system involves the recycling of these unwanted gases

through a valve (the “PCV valve”) and circulates them back into the intake

manifold, where they are pumped back into the cylinders for another chance at

being burned during the combustion cycle. A diagram of a typical PCV system is

below:




      59.    In the Class Vehicles, the PCV system is simply inadequate to prevent

and address contamination of the crankcase. This is because the volume of



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contamination is so massive due to, inter alia, (1) the increased amount of

unburned fuel in the combustion chamber; and (2) increased blow-by as a result of

the reduced piston and oil control ring tensions in an effort to decrease overall

friction within the engine in the hopes of gaining greater MPG.

      60.    In the Class Vehicles, the engine pistons are connected to the

crankshaft via the connecting rods. As the connecting rods moves up and down

during the Combustion Cycle, this causes the crankshaft to rotate, ultimately

resulting in power to the drive wheels of the vehicle. During this cycle, the

crankshaft rotates many thousands of times per minute within each connecting rod.

In order to reduce friction and prolong longevity, this design utilizes a bearing

placed between each connecting rod and multiple crankshaft surfaces. As a result,

the connecting rod bearings allow the crankshaft to rotate within the connecting

rods during the Combustion Cycle. An exemplar diagram of the piston, connecting

rod, connecting rod bearing and crankshaft is shown below:




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      61.   When the Class Vehicles are in operation, engine oil is used to

lubricate the piston, cylinder wall, connecting rod bearings, main bearings and

other rotating and moving components as the pistons move up and down through

the four-stroke sequence. Engine oil is necessary to reduce wear on moving parts


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throughout the engine, improve sealing, and cool the engine by carrying away heat

from the moving parts. Engine oil also cleans and transports contaminants away

from the engine to the engine oil filter. Oil is pumped and pressurized throughout

the engine by the oil pump. The oil pump draws oil from the oil pan, located

underneath the pistons and crankshaft. The oil pump forces engine oil through the

oil filter and then through passages in the engine to properly lubricate and reduce

friction in internal moving engine components. The oil then returns to the oil pan

through small drainage holes located throughout the engine where it will be

recirculated by the oil pump. Below is a diagram illustrating the typical path and

channels of engine oil lubrication in an overhead cam engine:




      62.    The Engine Defect inherent in the Class Vehicles results in the build-

up of non-combusted fuel within the engine’s oiling system. As the fuel builds up

within the oiling system, the engine oil is diluted and begins to lose its lubricating

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properties. This fuel-contaminated engine oil no longer properly coats the bearing

surfaces, compromising the integrity of the oil barrier between the bearings and the

corresponding metal parts which they are designed to protect. When the Engine

Defect manifests, it results in excessive and frequent contact between the

connecting rods and connecting rod bearings, as well as the crankshaft and main

bearings. This contact causes accelerated wear within the engine and on the

bearing surfaces in the Class Vehicles.

      63.    Additionally, the Engine Defect causes the crankcase of the Class

Vehicles to become overfilled with fuel-contaminated oil. As a result, the engine

oil level can come in contact with the crankshaft. When this happens, it is turned

(or aerated) by the crankshaft thereby becoming oxygenated and of a foamy

quality. This oxygenated oil mixture fails to lubricate effectively and will often

result in overheating as well as damage to the engine's moving parts. In some

cases, there may even be a loss of oil pressure since aerated oil can result in oil

pump cavitation. Per the below diagrams from the Owner’s Manual of a Class

Vehicle, Honda is well aware that excessive oil in the crankcase will result in

damage to the Class Vehicles:2




2

http://techinfo.honda.com/rjanisis/pubs/QS/AH/ATLA1717OG/enu/ATLA1717O
G.PDF

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      64.    Regardless of this known risk, Honda instructs Class Members to

continue to drive their Class Vehicles and simply change the engine oil more

frequently, and in some instances recommending class members change their

Vehicle’s oil every 500 miles. This results in a previously undisclosed increase in

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the cost of maintenance for Class members due to the Engine Defect.

Additionally, this results in a greater impact on the environment due to the

necessary and frequent disposal of contaminated engine oil due to the Engine

Defect.

B.    Honda’s Knowledge of the Engine Defect

      65.    After numerous reports of high engine oil levels and fuel smells

reported by Honda customers in northern China, where cooler temperatures are

common, Honda ordered a recall of 350,000 vehicles in February 2018.

      66.    In approximately March 2018, Honda halted the sales of the Class

Vehicles in China, after a Chinese watchdog rejected Honda’s plan to recall the

vehicles to attempt to fix the Engine Defect.3 “The company needs to improve the

recall plans further,” the watchdog said, suggesting Honda could extend the

warranty coverage period of the affected vehicles.4 Until a new recall is agreed

upon, Honda issued a stop-sale on all new CR-Vs in China.

      67.    Similarly, on February 28, 2018 Honda Canada, Inc. sent a notice to

its Canadian dealerships regarding complaints of misfires and oil pressure

warnings in the Class Vehicles. Honda Canada further advised that these issues

have “been associated with high engine oil level due to fuel or water


3
  https://www.reuters.com/article/us-honda-china-recall/honda-stops-selling-new-cr-
vs-in-china-after-recall-plan-rejected-idUSKCN1GE1P8 (last visited My 8, 2018)
4
  http://www.autonewschina.com/en/article.asp?id=17301 (last visited May 8, 2018)

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contamination.” A copy of this notice is below:




       68.    Despite acknowledging the Engine Defect in China, Honda has not

done so in the United States and continues to deny the existence of the Engine

Defect to Class Members.

       69.    Furthermore, Honda’s failure to notify the general public or the

owners or lessees of the Class Vehicles of the Engine Defect is particularly

egregious because after the Engine Defect manifests, the Class Vehicles may suffer

catastrophic engine failure while in use, resulting in a very dangerous situation

(and can even be left stranded) placing the driver and occupants at an increased

risk of injury.

       70.    Engines are designed to function for periods (and mileages)


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substantially in excess of those specified in Defendants’ warranties, and given past

experience, consumers legitimately expect to enjoy the use of an automobile

without worry that the engine will fail for significantly longer than the limited

times and mileages identified in Defendants’ warranties.

         71.   Honda markets its vehicles as particularly reliable when compared to

the competition.5

         72.   Automobiles must incorporate designs that are able to withstand

foreseeable usage conditions. A vehicle can suffer extensive damage and costly

repairs from customary environmental and usage conditions when a vehicle suffers

from such a defect.

         73.   In many instances, consumers have incurred and will continue to incur

expenses for repair and/or replacement of the engines despite such Engine Defect

having been contained in the Class Vehicles when manufactured by Defendants.

         74.   Upon information and belief, Defendants, through (1) their own

records of customers’ complaints, (2) dealership repair records, (3) records from

the National Highway Traffic Safety Administration (NHTSA), (4) warranty and

post-warranty claims, (5) internal pre-sale durability testing and TSBs, and (5)

other various sources, were well aware of the Engine Defect but failed to notify

customers of the nature and extent of the problems with Class Vehicle engines or


5
    See, e.g., https://automobiles.honda.com/awards (last visited April 10, 2018).

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to provide any adequate remedy.

      75.    Defendants failed to adequately research, design, test and/or

manufacture the engines and PCV systems in the Class Vehicles before warranting,

advertising, promoting, marketing, and selling the Class Vehicles as suitable and

safe for use in an intended and/or reasonably foreseeable manner.

      76.    Defendants are experienced in the design and manufacture of

consumer vehicles. As experienced manufacturers, Defendants conduct tests,

including pre-sale durability testing, on incoming components, including the

engines, to verify that the parts are free from defect and align with Defendants’

specifications.

      77.    Defendants’ presale durability testing includes five metrics that

allegedly “ensure high quality” by conducting “comprehensive quality assurance

activities from the dual perspectives of design and manufacturing.”6 They admit

that their “production departments implement manufacturing controls to keep

variability within applicable standards based on drawings and develop production

processes so that all workers can continue to achieve a consistent level of quality.”

Thus, Defendants knew or should have known of the Engine Defect through their


6

https://web.archive.org/web/20170719214241/http://world.honda.com/sustainabilit
y/quality/initiative/design-development-production/ (site indexed by
web.archive.org on July 19, 2017) (last visited May 8, 2018). The quotes in
paragraphs 76-83 all refer to this webpage. See also Exhibit A, pgs. 54-55 and 60.

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comprehensive quality assurance activities and manufacturing controls.

      78.    First, Defendants’ “engineers utilize a database of measures and

techniques previously used to prevent market quality issues and other information

as they communicate closely with manufacturing departments during the initial

development stage. Product function, performance and quality assurance initiatives

are committed to writing and are shared to ensure efforts are coordinated with

production departments’ process assurance activities and to coordinate quality

assurance initiatives.”

      79.    Second, “Honda’s production departments establish manufacturing

control items and criteria for each part, process, and operation to prevent product

quality issues.” These controls are explicitly put in place to “prevent product

quality issues” whereby Defendants’ engineers “use these manufacturing control

items and criteria to verify manufacturing variability as they work to prevent

quality issues.”

      80.    Third, for outsourced parts, Defendants visit their suppliers’

manufacturing facilities to conduct quality audits based on the “‘Three Reality

Principle,’ which emphasizes ‘going to the actual place,’ ‘knowing the actual

situation’ and ‘being realistic.’” Defendants use “[e]xperts in the development and

production of individual parts visit manufacturing facilities and conduct audits of

suppliers’ quality systems and their implementation.”



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      81.    Fourth, and perhaps most importantly, Defendants assure long-term

reliability of its parts and vehicles through “meticulous durability testing.”

Defendants state the following about this metric (emphasis added):

      Honda subjects new and redesigned models to a rigorous regimen of
      long-distance durability testing before beginning mass production to
      verify that there are no quality issues.

      We also disassemble vehicles used in the test drives into every single
      part and verify that there are no quality issues through a process
      consisting of several thousand checks. By accumulating data on the
      issues discovered through these test drives and detailed inspections as
      well as associated countermeasures, we are able to ensure a high level
      of quality and reliability.

      82.    Fifth, Defendants developed and implemented the “Line End Tester,”

an inspection and diagnostic system, that is used “in shipping quality inspections of

all electronic control systems, from switches and instruments to air conditioner,

audio, engine and transmission operations.”

      83.    Through these quality control metrics, Defendants knew or should

have known that the engines in the Class Vehicles were defective.

      84.    Lastly, as explained in Honda’s Sustainability Report:

      When Honda determines that an issue occurs with a product that requires
      market action, it quickly reports the issue to government authorities in
      accordance with countries’ regulations and contacts owners by means of
      direct mail from dealers or by telephone to provide information about how
      they can receive free repairs. Associated information is also provided on
      Honda’s website and through the news media as necessary.

      85.    Despite such assurances and procedures, Defendants have not



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contacted Class Members by direct mail or telephone to inform them how they can

receive free repairs related to the Engine Defect within the United States.

Additionally, upon information and belief, Defendants have also not provided

associated information regarding the Engine Defect on its website or through the

news media.

      86.     Per the below, Defendants also expressly warranted the Class

Vehicles to be free from defects for a period of three years or 36,000 miles under

the New Vehicle Limited Warranty and 5 years or 60,000 miles under the

Powertrain Limited Warranty.7 Both warranties are applicable to the Engine

Defect; however, Defendants have failed to correct the issue.




7
 http://owners.honda.com/Documentum/Warranty/Handbooks/2018_Honda_Warra
nty_Basebook_AWL05251_FINAL.pdf


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      87.    Buyers, lessees, and other owners of the affected Vehicles were

without access to the information concealed by Defendants as described herein,

and therefore reasonably relied on Defendants’ representations and warranties

regarding the quality, durability, and other material characteristics of the Vehicles.

Had these buyers and lessees known of the defect and the potential harm, they

would have taken steps to avoid that harm and/or would have paid less for the

Vehicles than the amounts they actually paid, or would not have purchased the

Vehicles.

C.    Complaints by Other Class Members.

      88.    Plaintiffs’ experiences are by no means an isolated or outlying

occurrence. Indeed, the internet is replete with examples of blogs and other

websites where consumers have complained of the exact same Engine Defect

within the Class Vehicles.8

      89.    Class Vehicle owners have publicly complained to the United States

government about the Engine Defect in Class Vehicles since the vehicle has been

released. The Office of Defects Investigation (ODI) is an office within the National

Highway Traffic Safety Administration (NHTSA). ODI conducts defect



8
  See http://www.crvownersclub.com/forums/98-2012-2016-official-specs-
features-etc-gen-4/110761-2016-honda-crv-gas-smell-fills-cabin-very-strong.html
(last visited April 10, 2018); and http://www.carproblemzoo.com/honda/cr-v/other-
fuel-system-problems.php (last visited April 10, 2018).

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investigations and administers safety recalls to support the NHTSA’s mission to

improve safety on the Nation’s highways. 9 All automobile manufacturers routinely

monitor and analyze NHTSA complaints because this information is used in

determining if a recall should be issued.

       90.   The following is just a small sampling of the many complaints

submitted to ODI by Honda CR-V owners. These publicly available complaints,

filed as early as March 2016, evidence Defendants’ prior knowledge of the Engine

Defect, the negative experiences encountered by Class Members, and the financial

burden this places on them.

    NHTSA ID Number: 10864030
    Date of Incident: 03/22/2016
    Consumer Location: FOX POINT, WI
    Vehicle Identification No. (VIN): 5J6RM4H74GL...
    SUMMARY:
    THE CABIN OF MY BRAND NEW VEHICLE FILLS WITH GAS FUMES
    RANDOMLY WHILE THE ENGINE IS RUNNING. THE FUMES FILL THE
    CABIN WHILE IDLING, STARTING, AND DRIVING DOWN THE ROAD.
    THE FUMES ARE VERY STRONG AND I DO NOT FEEL SAFE DRIVING
    THIS VEHICLE FOR ANY DISTANCE. THE HONDA DEALERSHIP
    SERVICE DEPARTMENT AND THE HONDA TECH CENTER ARE
    AWARE OF THE PROBLEM BUT DO NOT HAVE A REMEDY.


    NHTSA ID Number: 10872460

9
 See https://www-odi.nhtsa.dot.gov/recalls/recallprocess.cfm (last visited April 10,
2018). Indeed, automobile manufacturers are required by law to report any
potential safety defects to the United States government.

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Date of Incident: 05/01/2016
Consumer Location: ERIE, PA
Vehicle Identification No. (VIN): 2HKRM4H55GH...
SUMMARY:
VEHICLE SMELLS LIKE GAS INSIDE THE CABIN AT IDLE. ALSO
FILLS GARAGE WITH THE ODOR WHEN PARKED OVERNIGHT.


NHTSA ID Number: 11084545
Date of Incident: 09/13/2016
Consumer Location: WAUWATOSA, WI
Vehicle Identification No. (VIN): 2HKRM4H73GH...
SUMMARY:
GAS FUMES IN PASSENGER CABIN. WE GET GAS FUMES IN THE
PASSENGER CABIN ON A REGULAR BASIS. NO GAS LEAKING ON
GROUND THAT WE CAN SEE. HAPPENS MORE OFTEN AFTER CAR
HAS BEEN IDLING FOR A BIT. GAS FUMES STAY IN CABIN WHILE
DRIVING.


NHTSA ID Number: 10969832
Date of Incident: 10/01/2016
Consumer Location: SAVAGE, MN
Vehicle Identification No. (VIN): 5J6RM4H42GL...
SUMMARY:
THE INSIDE OF MY 2016 CR-V SMELLS LIKE GAS, MY FORMER 2015
HAD THE SAME PROBLEM. THE DEALERSHIP HAS NO CLUE WHAT
IS WRONG, THEY TOLD ME TO SWITCH BRAND OF GAS, IT DID
NOTHING. ALSO THE SEATS VIBRATE WHILE IDLING, AGAIN THE
DEALERSHIP DOESN'T KNOW WHAT TO DO.


NHTSA ID Number: 10915982

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Date of Incident: 10/13/2016
Consumer Location: MIDWAY, GA
Vehicle Identification No. (VIN): 3CZRM3H5XGG...
SUMMARY:
UPON INITIAL START THE ENTIRE CABIN OF THE VEHICLE SMELLS
OF RAW GAS, COMING IN THROUGH VENTS. THIS IS ESPECIALLY
WORSE WHEN IN REVERSE SUCH AS BACKING OUT OF THE
DRIVEWAY, ALSO THIS IS PRESENT WHEN IDLING IN PARK OR
DRIVE, SUCH AS SITTING AT A STOPLIGHT. THE SMELL IS SO
STRONG YOU ARE FORCED TO OPEN THE WINDOWS UNTIL THE
VEHICLE IS MOVING AGAIN.


NHTSA ID Number: 10968556
Date of Incident: 12/27/2016
Consumer Location: PEWAUKEE, WI
Vehicle Identification No. (VIN): 5J6RM4H98GL...
SUMMARY:
THE VEHICLE IS EMITTING A VERY STRONG GAS ODOR! IT IS MOST
NOTICEABLE WHEN I OPEN THE DOOR FROM THE HOUSE TO THE
GARAGE (EVERY TIME.) THE ENTIRE GARAGE SMELLS LIKE GAS. IT
IS NOTICEABLE WHEN STOPPED AT A TRAFFIC LIGHT. IT IS
NOTICED WHEN COMING BACK TO THE CAR AFTER HAVING GONE
INTO A STORE FOR A QUICK ERRAND(S). I TOOK THE CAR TO A
HONDA DEALER. THEY KEPT IT OVERNIGHT AND FOR MOST OF A
DAY. WHEN I CAME IN I WAS TOLD THAT IT WAS A JUST A NEW
CAR SMELL. HOWEVER, THE SMELL CONTINUES AND SEEMS TO BE
GETTING WORSE.


NHTSA ID Number: 10954891
Date of Incident: 02/10/2017
Consumer Location: RAVENNA, OH
Vehicle Identification No. (VIN): 2HKRM3H38GH...

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SUMMARY:
PURCHASED A 2016 CR-V IN NOVEMBER 2016 AND WITHIN A DAY
THE CABIN OF OUR BRAND NEW VEHICLE FILLS WITH NOXIOUS
GAS FUMES FROM A COLD START. THE FUMES ARE VERY STRONG,
AFTER DRIVING THE CAR THE FUEL SMELL WILL LESSEN AND ON
OCCASION THE SMELL WILL DISSIPATE COMPLETELY. THE SMELL
WAS SO STRONG WE HAD TO ROLL THE WINDOWS DOWN. THE
VEHICLE HAS BEEN IN THE SERVICE DEPARTMENT THREE TIMES.
FIRST TIME THEY COULD NOT DUPLICATE THE SMELL. THIS
ATTEMPT WAS NOT FROM A COLD START. SECOND TIME WE LEFT
THE CAR OVERNIGHT SO THEY COULD EVALUATE FROM A COLD
START. THE SERVICE TECH STATED HE COULD SMELL THE ODOR
IN THE CABIN. HONDA TECH WAS CALLED BY THE TECHNICIAN
AND I HAD TO COMPLETE AN ONLINE QUESTIONNAIRE ABOUT THE
COMPLAINT. THE SERVICE WRITER SAID AT THIS TIME THERE IS
NO FIX FOR THE PROBLEM AND WE COULD TAKE OUR CAR HOME
AND WAIT FOR HONDA TO REPLY. THIRD TIME WE BASICALLY
SAID WE DID NOT WANT THIS CAR IF YOU CANNOT FIX IT AND
THEY GAVE US A LOANER CAR, A 2015 CR-V WHICH DOES NOT
HAVE ANY ODOR. STILL WAITING ON THE DEALERSHIP TO CALL
US WITH A SOLUTION. THIS WAS OUR FIRST HONDA PURCHASE.
REALLY WISH I WOULD HAVE STUCK WITH MY PREVIOUS CAR
MANUFACTURER.


NHTSA ID Number: 10956335
Date of Incident: 02/22/2017
Consumer Location: MADISON, WI
Vehicle Identification No. (VIN): 5J6RM4H59GL...
SUMMARY:
THE VEHICLE HAS A VERY STRONG SMELL OF FUEL (GASOLINE) IN
THE PASSENGER CABIN AFTER THE ENGINE HAS WARMED UP. IT IS
ESPECIALLY STRONG WHEN THE CAR HAS BEEN REFUELED, WHEN
THE ENGINE IS WARM AND YOU ARE MAKING FREQUENT STOPS
OR ARE BACKING UP. HONDA SERVICE STAFF STATE HONDA
AMERICA IS AWARE OF THE COMPLAINTS WITH THE 2016 CRV BUT
THEY HAVE NOT IDENTIFIED A PROBLEM NOR DO THEY HAVE A

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FIX. THEY DID HAVE ME COMPLETE A QUESTIONAIRE AT THE
DEALERSHIP REGARDING THE PROBLEM AND THEY SAID HONDA
IS HAVING ENGINEERS LOOK INTO THE PROBLEM. IN THE MEAN
TIME, THE SMELL OF GASOLINE CAN BE SO STRONG THAT IT
MAKES ME NAUSEOUS AND GIVES ME A HEADACHE. I AM QUITE
SURE BREATHING IN THE SMELL OF TOXIC CHEMICALS IN A
CONFINED SPACE IS HAZARDOUS TO A PERSON'S HEALTH AND I
AM QUITE SURE THE HEAD OF HONDA WOULD NOT RIDE IN A
VEHICLE THAT WREEKS OF GASOLINE INSIDE. I HAVE HAD THIS
VEHICLE 3 MONTHS AND IT HAS 2156 MILES ON IT. IN THE
BEGINNING, I THOUGHT IT WAS EXHAUST FROM CARS IN TRAFFIC
AROUND ME. THEN I THOUGHT I MUST HAVE SPILLED GAS ON THE
GAS WHEN I FILLED THE TANK, BUT CLEARLY IT IS NOT EITHER OF
THESE ISSUES. THE GAS SMELL IS COMING FROM THE FUEL
SYSTEM OF THE CAR AND IT NOT SAFE TO RIDE IN IT. THE GARAGE
SMELLS LIKE GASOLINE AFTER THE CAR HAS BEEN SITTING IN IT
AND TURNED OFF. THE CAR DOES NOT USUALLY SMELL LIKE GAS
WHEN I FIRST TURN IT ON OR IF I DRIVE IT A VERY SHORT
DISTANCE. WHEN I DRIVE TO WORK (2 MILES) AND GET OUT AND
IT SITS FOR 8 HOURS, I DO NOT SMELL GAS WHEN I GO HOME AT
THE END OF THE DAY. IT IS WHEN THE CAR HAS BEEN DRIVEN FOR
15 OR MORE MINUTES AND MAKING MULTIPLE STOPS. THE
DEALERSHIP SAID THEY HAVE HAD OTHER CUSTOMERS WITH
SIMILAR COMPLAINTS BUT NO IDEA HOW TO FIX IT. MEANWHILE, I
HAVE A 3 MONTH OLD $28,000 VEHICLE I CANNOT DRIVE SAFELY.
IS THERE A WAY TO MEAUSURE NOXIOUS FUMES IN THE
PASSENGER CABIN?


NHTSA ID Number: 10957080
Date of Incident: 02/25/2017
Consumer Location: HATFIELD, PA
Vehicle Identification No. (VIN): 2HKRM4H59GH...
SUMMARY:
STRONG SMELL OF GAS IN MY NEW 2016 HONDA CR-V WHEN I
START IT UP AND IT SMELLS FOR AWHILE WHILE DRIVING IT THEN
WHEN I STOP AND START I SMELL IT ALL OVER AGAIN. I'M


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WORRIED ABOUT THE SAFETY OF DRIVING THIS CAR. READ
ONLINE A LOT OF 2016 HONDA CR-V OWNERS HAVE THE SAME
ISSUE WITH NO RESOLVE AFTER TAKING IT TO THE HONDA
DEALER. I'M TAKING MINE TO THE DEALER ON MONDAY BUT
VERY WORRIED THIS COULD BE A SAFETY ISSUE THAT COULD
INVOLVE A FIRE OR WORSE. I'M PLANNING ON DRIVING THIS
VEHICLE ON A LONG TRIP THIS SUMMER NOW IM VERY
CONCERNED FOR OUR SAFETY. VERY DISAPPOINTED IN HONDA
AND PURCHASING THIS NEW VEHICLE. I BOUGHT A NEW VEHICLE
SO I DO NOT HAVE CAR PROBLEMS.


NHTSA ID Number: 10992310
Incident Date May 28, 2017
Consumer Location GRAFTON, WI
Vehicle Identification Number 5J6RW2H86HL****
Summary of Complaint
FREQUENT NOXIOUS GAS FUMES IN THE CABIN OF THE VEHICLE.
OFTEN WHEN THE VEHICLE IS SITTING IDLE, OR STARTING, THERE
IS A STRONG SMELL OF GAS IN THE CABIN.
THIS ISSUE BEGAN A COUPLE WEEKS AFTER PURCHASING THE
VEHICLE (FEBRUARY 3) AND HAS HAPPENED MOST RECENTLY ON
MAY 28. THE INCIDENT ON MAY 28 WAS SO TOXIC THAT I
DEVELOPED A HEADACHE AND HAD TO OPEN ALL WINDOWS TO
TRY TO RELIEVE THE ISSUE.


NHTSA ID Number: 11090099
Date of Incident: 07/20/2017
Consumer Location: LAFAYETTE, CO
Vehicle Identification No. (VIN): 7HKRW2H95HH...
SUMMARY:
STRONG FUEL SMELL (MIX OF GAS AND OIL) COMING FROM
ENGINE SINCE WE PURCHASED VEHICLE. IT’S BEEN INTO

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CERTIFIED DEALER FOR INSPECTIONS AND MINOR TWEAKS FOUR
TIMES ALREADY AND HONDA IS UNABLE TO REPAIR IT AS THEY
DON’T KNOW WHAT TO DO. WE HAVE TO DRIVE WITH WINDOWS
OPEN AND PARK CAR OUTSIDE OF OUR GARAGE DUE TO THE
FUMES. I’M NOW GETTING HEADACHES FROM LONGER DRIVES.


NHTSA ID Number: 11030624
Date of Incident: 09/20/2017
Consumer Location: Unknown
Vehicle Identification No. (VIN): Not Available
SUMMARY:
GAS SMELL LIKE OPEN CONTAINER IN CABIN WHILE STATIONARY
AT STOPLIGHT ALSO WHEN GARAGED OVERNIGHT NO FUEL ON
GROUND OBSERVED WHILE GARAGED




NHTSA ID Number: 11075842
Incident Date November 20, 2017
Consumer Location DULUTH, MN
Vehicle Identification Number 5J6RW2H5XHL****
Summary of Complaint
GAS IS MIXING IN THE OIL OF OUR NEW 2017 HONDA CR-V. THE 1.5
LITER ENGINE DOES NOT WARM UP SUFFICIENTLY IN COLD
WEATHER, RUNS RICH, AND LEAVES UN-COMBUSTED GAS IN THE
OIL. THIS TRIGGERS ENGINE WARNING LIGHTS AND REQUIRES
FREQUENT OIL CHANGES. ENGINE PERFORMANCE AND
DRIVABILITY SUFFER. THIS PROBLEM IS ALSO BEING REPORTED
ON SOCIAL MEDIA BY OTHER HONDA CR-V OWNERS WHO DRIVE
IN COLDER CLIMATES. WE ARE CONCERNED THAT IT IS CAUSING
LONG TERM DAMAGE TO THE ENGINE OF OUR NEW VEHICLE. I
CAUTION PROSPECTIVE BUYERS TO POSTPONE THE PURCHASE OF
A 2017 OR NEWER HONDA CR-V WITH THE 1.5 LITER ENGINE UNTIL


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HONDA SOLVES TO THIS PROBLEM. THE FIFTH GENERATION CR-V
IS AN EXCELLENT CAR IN MANY RESPECTS, BUT THIS IS A MAJOR
PROBLEM. I CANNOT RECOMMEND THE CAR, PARTICULARLY TO
THOSE WHO DRIVE IN COLDER CLIMATES, UNTIL A FIX IS FOUND.
REUTERS REPORTED IN FEBRUARY THAT HONDA HAS
ANNOUNCED A RECALL OF 350,000 CR-V'S IN CHINA FOR WHAT
APPEARS TO BE A SIMILAR ISSUE.
WE'VE DRIVEN OUR CAR FOR ABOUT SIX MONTHS, AND IT HAS
LESS THAN 2,000 MILES ON IT. WE TYPICALLY USE THE CAR FOR
SHORT DRIVES WITHIN THE CITY. OUR CAR WAS AT THE DEALER
FOR OVER TWO WEEKS WHEN THE PROBLEM FIRST OCCURRED. A
FIELD REP FROM HONDA WAS SENT OUT TO THE DEALER TO TRY
TO ASSIST. SENSORS AND FUEL INJECTORS WERE REPLACED. THE
OIL AND FILTER WAS CHANGED. AT THIS TIME OUR ENGINE HAD
LESS THAN 1100 MILES ON IT.
THESE REPAIRS DID NOT CORRECT THE PROBLEM. IN MID-
JANUARY THE ENGINE WARNING LIGHTS WERE TRIGGERED
AGAIN. OUR DEALER NOTED THE SMELL OF GAS IN OUR OIL AND
ONCE AGAIN CHANGED THE OIL AND FILTER. WE HAD LESS THAN
1500 MILES ON THE CAR FOR THIS SERVICE.
HONDA DOES NOT APPEAR TO HAVE A SOLUTION TO THIS
PROBLEM. THE OIL AND FILTER CHANGES ARE A BANDAID, AND
LONG TERM DAMAGE MAY BE OCCURRING TO OUR ENGINE.
HONDA MAY HAVE A MAJOR PROBLEM ON ITS HANDS WITH THE
1.5 LITER ENGINE.


NHTSA ID Number: 11097913
Date of Incident: 12/01/2017
Consumer Location: LUXEMBURG, WI
Vehicle Identification No. (VIN): 7FARW2H5XJE...
SUMMARY:
THE ENGINE IS MAKING OIL AS WE DRIVE IT. THERE IS A GAS
SMELL INSIDE THE CAR. WE DONT DRIVE SHORT DISTANCES WITH
IT LIKE THE DEALER SAID WOULD MAKE IT HAPPEN


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NHTSA ID Number: 11072826
Date of Incident: 12/19/2017
Consumer Location: HAYWARD, WI
Vehicle Identification No. (VIN): 2HKRW2H57HH...
SUMMARY:
GAS IN GETTING IN CRANKCASE OIL ON BRAND NEW ENGINE.
STARTED FROM DAY ONE. IT IS WASHING DOWN CYLINDER
WALLS,, DILUTING THE OIL AND CAUSING PREMATURE ENGINE
FAILURE. I AM SCARED TO DEATH IT WILL BLOW UP AT HIGHWAY
SPEEDS AND CAUSE MY DEATH.


NHTSA ID Number: 11076415
Incident Date January 6, 2018
Consumer Location SILVER BAY, MN
Vehicle Identification Number 2HKRW2H80HH****
Summary of Complaint
JANUARY 6TH, 2018 CAR SMELLED OF EGGS AND GAS. DROVE CAR
70 MILES THE EMMISIONS AND ENGINE LIGHT CAME ON AND CAR
WAS TOWED FROM A BUSY HWY 61 MN TO HONDA SERVICE
CENTER. THEY HAD CRV FOR 3 WEEKS. CHANGED OIL &
PROGRAMMED INJECTORS THE OIL HAD 1QUART OVER OF GAS
MIXED INTO THE OIL. 700 MILES LATER AND CAR NOW HAS GAS
MIXED INTO OIL AGAIN AND OVER THE ORANGE DIPSTICK AND
SMELLS OF VERY STRONG GAS. A SERVICE APPOINTMENT MADE
FOR MARCH 14TH, 2018 FOR OIL CHANGE, RATTLE IN THE DASH
BEHIND HEAD UNIT AND THE HEAT PROBLEM AS WELL. THE NO
HEAT FOR WINTER DRIVING WITH FROZEN WINDSHIELD BEFORE
DRIVING AND WHILE DRIVING IS VERY DANGEROUS! BREAKING
DOWN ON A INTERSTATE HWY IS ALSO DANGORUS WAITING 4
HOURS WITH NO HEAT IN CAR AT -1 TEMP WAITING FOR TOW IS
DANGORUS. NOT HAPPY ABOUT THIS AT ALL!



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NHTSA ID Number: 11083547
Date of Incident: 01/08/2018
Consumer Location: MANHATTAN, KS
Vehicle Identification No. (VIN): 5J6RW2H84JL...
SUMMARY:
CAR HAS A GAS ODOR WHEN DRIVING, PARKED IN THE GARAGE
AND IDLING. IT PERMEATES THE CABIN AND GARAGE. IT HAS
BEEN THIS WAY SINCE PURCHASE, JUST ASSUMED IT WAS
BURNING OFF SOMETHING, BUT WHEN IT CONTINUED, IT IS
RIDICULOUS FOR A NEW CAR. GOING TO DEALER WITH
COMPLAINT. CAUSES HEALTH CONCERNS DUE TO EXPOSURE OF
FUMES ON CONSTANT BASIS


NHTSA ID Number: 11098079
Date of Incident: 01/10/2018
Consumer Location: MILLVILLE, NJ
Vehicle Identification No. (VIN): 2HKRW2H51HH...
SUMMARY:
I HAVE HAD THE BRAKES ENGAGE TWICE THROUGH THE
COLLISION AVOIDANCE SYSTEM WITH NO OTHER VEHICLES
AROUND ME.DANGEROUS AS I COULD BE REAR ENDED.AND THE
OIL LEVEL RISES WITH FUEL DILUTION AND GAS FUMES ENTER
THE PASSENGER COMPARTMENT.VEHICLE MISFIRED AND
SHUTDOWN ON HIGHWAY DANGEROUS SITUATION AND
BREATHING GAS FUMES.


NHTSA ID Number: 11081970
Date of Incident: 02/05/2018
Consumer Location: CINNAMINSON, NJ
Vehicle Identification No. (VIN): 2HKRW2H58HH...
SUMMARY:

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THE 1.5 TURBO ENGINE'S ALL EXPERIENCE A COOLANT HEATING
UP UNDER 32DEGREES F PROBLEM. AT IDLE THE TEMPERATURE
COOLS DOWN AND HEATER DOES NOT SUPPLY WARM AIR. ALSO
THE ENGINE OIL IS BEING DILUTED BY AN OVERLY RICH MIXTURE
CAUSING UNBURNED GAS TO ENTER THE CRANKCASE DILUTING
THE ENGINE OIL AND CAUSING ENGINE DAMAGE. DEALER HAS NO
CLUE WHEN I TOOK IT IN TO WHY SO I HAVE TO CHANGE OIL
EVE3RY 1000 MILES TO PROTECT THE ENGINE




NHTSA ID Number: 11072515
Date of Incident: 02/13/2018
Consumer Location: BURLINGTON, MA
Vehicle Identification No. (VIN): 5J6RM4H43GL...
SUMMARY:
FROM NEW, THE CABIN FILLS WITH NOXIOUS GAS FUMES. HONDA
DEALERSHIP SAYS HONDA IS AWARE OF THE PROBLEM BUT WILL
NOT DO ANYTHING TO FIX IT AS THEY ARE UNAWARE OF A FIX.
UNACCEPTABLE FROM HONDA


NHTSA ID Number: 11097244
Incident Date February 14, 2018
Consumer Location BRIDGEWATER, VA
Vehicle Identification Number 2HKRW2H52HH****
Summary of Complaint
OIL/DILUTION ON DIP STICK. GAS SMELL ON DIP STICK.
OVERFILLED DIP STICK.


Date of Incident: 02/20/2018
NHTSA ID Number: 11081944


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Consumer Location: LOS ANGELES, CA
Vehicle Identification No. (VIN):
SUMMARY:
ENGINE OIL IS OVERFILLING AND BEING DILUTED WITH GAS.
STRONG GAS SMELL. WHEN CHANGING OIL, MORE THAN WHAT
WAS NEEDED TO FILL ENGINE OIL TO FULL


NHTSA ID Number: 11074202
Date of Incident: 02/21/2018
Consumer Location: WARNERS, NY
Vehicle Identification No. (VIN): 5J6RW2H82HL...
SUMMARY:
NOTICED GAS FUMES INSIDE THE VEHICLE SOON AFTER
PURCHASE IN OCTOBER 2017. AT FIRST NOTICED IT AFTER I
FUELED VEHICLE. THOUGHT MAYBE I HAD STEPPED IN PUDDLE OF
GASOLINE AT THE PUMPS. AFTER A MONTH REALIZED THE GAS
FUMES GOT WORSE IF I WAS IDLING MY VEHICLE, ESPECIALLY, IF I
WAS PARKED FOR A HALF HOUR WITH CAR RUNNING(WINTER IN
CENTRAL NEW YORK) WHILE I ATE MY LUNCH. I CAN SMELL IT
OUTSIDE AROUND MY VEHICLE WHEN I PULL MY CAR INTO MY
GARAGE AT HOME. TODAY I BROUGHT MY VEHICLE TO A HONDA
DEALERSHIP FOR AN OIL CHANGE. I ASKED THEM TO LOOK AT MY
VEHICLE FOR A FUEL LEAK SINCE THE FUMES ARE SO STRONG. I
EVEN ASKED THEM TO IDLE THE CAR AND CHECK IT. THEY
COULDN'T FIND ANYTHING IN THE HALF HOUR. THEY HAVE
ASKED ME TO BRING IT BACK AND LEAVE IT FOR AWHILE NEXT
TIME. I HAVE


NHTSA ID Number: 11078754
Incident Date February 22, 2018
Consumer Location ASHLAND, WI
Vehicle Identification Number 5J6RW2H8XHL****


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Summary of Complaint
I PURCHASED A 2017 CRV FROM ASHLAND HONDA AND TOYOTA IN
ASHLAND, WI IN AUGUST 2017. ON FEBRUARY 23, 2018, MY CAR
WHICH HAS 5500 MILES ON IT, STARTED MAKING A HORRIBLE
NOISE AND BEGAN LOSING POWER WHILE ON THE HIGHWAY. THE
NOISE CONTINUED THROUGHOUT THE WEEKEND. WE MADE AN
APPOINTMENT WITH ASHLAND HONDA AND TOYOTA TO SERVICE
THE CALL.
HONDA CORPORATE AND THE SERVICE MANAGER (JERRY) AT
ASHLAND HONDA AND TOYOTA DETERMINED THROUGH VIDEO
CHATS AND CONFERENCE CALLS THAT THE CAMS WERE
DESTROYED IN MY ENGINE. THEY BELIEVE THIS HAD TO DO WITH
FUEL AND OIL MIXING AND GETTING INTO THE ENGINE. HONDA
REQUESTED THAT ASHLAND HONDA REPLACE THE HEAD OF THE
ENGINE. THEY HAVE NO FIX FOR THE PROBLEM WITH THE FUEL
AND OIL MIXING AND DESTROYING THE ENGINE. THE SERVICE
MANAGER SAID BECAUSE THE GOVERNMENT IS INVOLVED DUE
TO EMISSIONS, THIS ISSUE WILL BE CONTINUING, AND AT THIS
TIME THERE IS NO FIX. HE ALSO STATED THAT CORPORATE
INFORMED HIM THIS WAS A REGIONAL ISSUE DUE TO OUR
CLIMATE, AND THEY ARE CURRENTLY TRYING TO FIGURE OUT A
SOFTWARE FIX FOR THE PROBLEM. NO RESOLUTION AT THIS
POINT. CORPORATE FURTHER STATED THAT THEY ARE SEEING
THIS ISSUE WHEN THE TEMPERATURE IS BETWEEN 10 AND 30
DEGREES. I WAS OFFERED A 100,000 EXTENDED WARRANTY AND
RECOMMENDED THAT I GO TO THE DEALER EVERY 500 MILES TO
GET AN OIL CHANGE TO SEE IF FUEL IS MIXING WITH THE OIL.
SHOCKED AT THE LACK OF RESOLUTION, I ASKED THE SERVICE
MANAGER IF HONDA CORPORATE WAS COMFORTABLE GIVING ME
MY CAR BACK AFTER THE CAMS WERE REPLACED WITH NO
RESOLUTION, AND HE SAID YES.
I DO NOT BELIEVE THIS IS ETHICAL AT ALL FOR HONDA TO NOT
HAVE A FIX TO AN ENGINE PROBLEM THAT COULD ENDANGER
MYSELF AND/OR MY FAMILY. THE CAR ENGINE IS BEING
REPLACED WHEN PARTS ARE DELIVERED. AGAIN, NO RESOLUTION
TO THE PROBLEM WITH THE OIL AND GAS COMBINING AND
FIXING ISSUE.



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NHTSA ID Number: 11079561
Incident Date March 8, 2018
Consumer Location ACTON, MA
Vehicle Identification Number 5J6RW2H58HL****
Summary of Complaint
I PURCHASED A 2017 HONDA CRV-EX WITH THE 1.5 TURBO ENGINE
IN NOVEMBER 2017 AND PLAN TO GIVE THIS CAR TO MY NIECE AS
A GRADUATION PRESENT IN 2019. I TOOK IT FOR ITS FIRST OIL
CHANGE, AT 137 MILES, AND THE DEALER TOLD ME THAT THERE
WAS GASOLINE IN THE OIL. AFTER THE OIL CHANGE, I
RESEARCHED THE ISSUE AND DISCOVERED THAT MANY PEOPLE
(2017 HONDA CRV OWNERS WITH THE 1.5 TURBO ENGINE) IN THE
USA HAD THIS PROBLEM. THE DETAILS ARE LISTED IN THE HONDA
FORUMS AND ON EDMUNDS. I ALSO SAW THAT HONDA WAS
RECALLING 350K 2017-2018 CRVS WITH THE 1.5 TURBO ENGINE , IN
CHINA, AS THE SOFTWARE NEEDED TO BE UPDATED. IT APPEARS
THAT THE FUEL EJECTORS WERE SUPPLYING TOO MUCH
GASOLINE AND THE RESIDUAL GASOLINE WAS LEAKING AROUND
THE CYLINDERS INTO THE OIL. I REQUESTED HONDA-USA TO GET
ACCESS TO THIS SOFTWARE UPDATE VIA MY LOCAL DEALER
(BOCH HONDA WEST IN WESTFORD, MA). IT IS MY
UNDERSTANDING THAT THE SOFTWARE UPDATE IS AVAILABLE.
HONDA-USA SENT ME A RESPONSE INDICATING THAT THERE WAS
NO RECALL ON MY VEHICLE AND I SHOULD GO BACK TO THE
DEALER. I HAVE CALLED THE DEALER, AGAIN, BUT THEY CANNOT
DO MUCH WITHOUT THE SOFTWARE UPDATE. I TOLD HONDA-USA
THAT THIS PROBLEM IS VERY CONCERNING FOR THE FUTURE OF
THE ENGINE REMINDED THEM THAT THEIR DEALER FOUND THE
PROBLEM OF GASOLINE IN THE ENGINE AND THAT BOTH I AND
THE DEALER WERE CONCERNED. MY CASE NUMBER WITH HONDA
IS 07116734. SOME OF THE WEB SITES (LINKS) THAT FURTHER
DEFINE THE PROBLEM ATE AS FOLLOW: 1)
HTTPS://WWW.REUTERS.COM/ARTICLE/US-HONDA-CHINA-
RECALL/HONDA-STOPS-SELLING-NEW-CR-VS-IN-CHINA-AFTER-
RECALL-PLAN-REJECTED-IDUSKCN1GE1P8 2)
HTTP://WWW.CRVOWNERSCLUB.COM/FORUMS/14-PROBLEMS-
ISSUES/170193-POTENTIAL-MAJOR-ISSUE-2017-CR-V-GASOLINE-


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GETS-INTO-ENGINE-OIL-TANK.HTML 3)
HTTPS://FORUMS.EDMUNDS.COM/DISCUSSION/50438/HONDA/CR-
V/NEW-CR-V-COLD-WEATHER-RUNS-RICH-GAS-IN-OIL-MULTIPLE-
COMPLAINTS


NHTSA ID Number: 11081991
Date of Incident: 03/08/2018
Consumer Location: HUNTLEY, IL
Vehicle Identification No. (VIN): 5J6RW2H80HL...
SUMMARY:
WE PURCHASED OUR HONDA CRV EX-L IN OCTOBER OF 2017,
WITHIN 5 MONTHS WE NOTICED A STRONG GASOLINE SMALL IN
OUR CABIN. ONE DAY I CHECKED THE OIL LEVEL BY PULLING THE
DIPSTICK AND NOTICED THAT THE OIL LEVEL WAS 1 FULL INCH
ABOVE THE FULL MARK. I ALSO NOTICED THAT THE OIL ON THE
DIPSTICK REEKED OF GAS AND WAS VERY DARK AND WATERY. I
IMMEDIATELY DID A GOOGLE SEARCH OF THIS ISSUE, KNOWING
THAT OUR LAST OIL CHANGE WAS LESS THAN 3,000 MILES AGO
FROM OUR LOCAL HONDA DEALER AND I WAS SHOCKED WITH
THE RESULTS. THOUSANDS OF OWNERS WITH THE 2017-2018 CRV
WITH THE 1.5 LITER TURBO ENGINE ARE HAVING THIS EXACT
SAME ISSUE. THE ISSUE IS CALLED OIL DILUTION AND A LARGE
AMOUNT OF GAS IS GETTING INTO THE OIL BUT THE REASONS ARE
UNKNOWN. I IMMEDIATELY CALLED MY LOCAL DEALER AND HAD
MY CAR IN THE NEXT DAY. THEY CLAIMED THEY HAVE NEVER
SEEN ANYTHING LIKE THIS BEFORE AS MY OIL HAD SO MUCH
GASOLINE IN IT THAT IT POURED OUT LIKE WATER. THEY
SCHEDULED A CALL WITH HONDA ENGINEERS THE FOLLOWING
MONDAY AND THEY WERE ADVISED TO CHANGE THE OIL AND
DRIVE THE CAR AGAIN. THEY DID SO AND THE GAS VOLUME
FILLED UP VERY QUICKLY IN THE NEW OIL SO THE NEXT STEP
WAS TO REPLACE THE FUEL INJECTORS. BASED ON MY RESEARCH
ONLINE MANY OTHER OWNERS HAVE HAD THE SAME PROCEDURE
PERFORMED WHICH DIDN'T FIX THE ISSUE. HOWEVER THE
INJECTORS WERE REPLACED ON MY CAR AND THE VEHICLE WAS
GIVEN BACK TO ME, CLAIMED TO HAVE BEEN FULLY FIXED.


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NEEDLESS TO SAY LESS THAN 2 WEEKS AFTER I GOT MY VEHICLE
BACK I CHECKED THE OIL LEVEL AND ONCE AGAIN IT'S WELL
ABOVE THE FULL MARK WITH A STRONG SMELL OF GASOLINE.
I'VE CALLED HONDA CORPORATE AND THEIR CUSTOMER SERVICE
JUST PLAIN SUCKS. LACK OF EMPATHY, LACK OF
ACKNOWLEDGEMENT OF THIS BEING A WIDESPREAD ISSUE AND
NO RESOLUTION OF CONCERNS. I'M CURRENTLY FIGHTING WITH
THEM, PLEADING TO GET A EXTENSION ON THE POWERTRAIN
WARRANTY AS THERE IS NO DOUBT THAT ENGINE DAMAGE HAS
ALREADY OCCURRED


NHTSA ID Number: 11080270
Incident Date March 17, 2018
Consumer Location LIVERPOOL, NY
Vehicle Identification Number 5J6RW2H58HL****
Summary of Complaint
GAS IS LEAKING INTO CRANKCASE AND DILUTING THE ENGINE
OIL THEREFORE RAISING THE OIL LEVEL ABOVE THE MAX FILL
LINE. ENGINE OIL HAS GAS ODOR AND OIL SEEMS THINNER DUE
TO DILUTION WITH GASOLINE.


NHTSA ID Number: 11080300
Incident Date March 16, 2018
Consumer Location RALEIGH, NC
Vehicle Identification Number 7FARW1H91HE****
Summary of Complaint
THE OIL LEVEL IN THE CRANK CASE CONTINUALLY RISES AND
SMELLS STRONGLY OF GASOLINE. WITHIN 5000 MILES, AND 40%
OIL LIFE ACCORDING TO THE MAINTENANCE MINDER, IT HAD
RISEN WELL ABOVE THE MAX LINE ON THE DIP STICK.


NHTSA ID Number: 11081407

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Incident Date March 18, 2018
Consumer Location WILLIAMSPORT, PA
Vehicle Identification Number 2HKRW2H94HH****
Summary of Complaint
MY CAR IS A 2017 HONDA CRV TOURING WITH THE 1.5 LITER
TURBOCHARGED ENGINE AND 3200 MILES. ON 3/18/2018 I WAS
DRIVING AT 70MPH ON INTERSTATE 180 IN PENNSYLVANIA WHEN
THE CAR SUDDENLY SLOWED, LOST POWER, THE CHECK ENGINE
LIGHT CAME ON, AND MULTIPLE ELECTRICAL SYSTEMS
REPORTED MALFUNCTIONS IN THE DASH DISPLAY.
THE CAR WAS TOWED TO THE HONDA DEALER AND DIAGNOSED
WITH EXCESS GAS (APPROXIMATELY ONE QUART) IN THE OIL. THE
OIL AND FILTER WAS CHANGED AS A TEMPORARY SOLUTION,
AND A TECH LINE CASE (REF # 4089104) WAS OPENED WITH
HONDA. I WAS TOLD AT THIS TIME THERE IS NO PERMANENT
RECALL OR FIX. I WAS ADVISED THAT THIS IS A KNOWN PROBLEM
IN COLD CLIMATES WHERE THE CAR IS USED FOR SHORT DRIVES
AND DOES NOT WARM UP COMPLETELY. SINCE THEN I HAVE
LEARNED THAT ALL CRVS WITH THE 1.5 LITER TURBOCHARGED
ENGINE HAVE BEEN RECALLED IN CHINA FOR THE SAME
PROBLEM.


NHTSA ID Number: 11080313
Date of Incident: 03/19/2018
Consumer Location: HILLSBORO, OR
Vehicle Identification No. (VIN): 2HKRW2H57HH...
SUMMARY:
I CHECKED THE LEVEL OF THE OIL ON THE DIPSTICK AND THE
LEVEL SHOWS AS BEING HIGH, PAST THE 'FULL" REFERENCE
POINT WITH A FEW MILLIMETERS. ALSO, THE OIL HAS A STRONG
GAS ODOR. THE MILEAGE ON THE ENGINE IS 8454, AND THE FIRST
OIL CHANGE WAS PERFORMED AT 6547 MILES, 2 MONTHS AGO.




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NHTSA ID Number: 11081939
Date of Incident: 03/28/2018
Consumer Location: NORWALK, CT
Vehicle Identification No. (VIN): 2HKRW2H80HH...
SUMMARY:
MY 2017 HONDA CR-V IT’S A NEW BROCHE WITH ONLY 3,800 MILES
AND I’M VERY CONCERNED ABOUT THE OIL LEVEL RAISING
DRASTICALLY, SO BAD THAT I HAD TO DO AN OIL CHANCE AT
ONLY 3,000 MILES WHEN THE FIRST SERVICE WAS SUPPOSED TO
BE DONE AT 5,000 MILES. IT’S BEEN 800 MILES SINCE THE OIL
CHANGE AND THE OIL LEVEL IS WELL ABOVE THE SECOND MARK
ON THE DIPSTICK WITH A STRONG GASOLINE ODOR, YES, FOR THE
LITTLE EXPERIENCE I HAVE WITH VEHICLES I’M MORE THAN SURE
THIS ENGINE IS MIXING UP GASOLINE WITH THE OIL, REASON
WHY THE OIL LEVEL GOES UP AND LOOKS THINNER THAN
NORMAL ALMOST LIKE WATER. MY CONCERN IS THAT IF THE OIL
DELUDE DRASTICALLY THE ENGINE EVENTUALLY WILL FAIL FOR
LACK OF LUBRICATION, AND THE WHOLE POWERTRAIN WILL BE
DAMAGE! HONDA NEEDS TO FIND A SOLUTION TO THIS ISSUES
ASAP OR RISK MANY CARS NEEDING A NEW ENGINE SOON! MANY
PEOPLE IT’S HAVING THIS ISSUES WITH OIL DILUTION AND HEAT
NOT WORKING PROPERLY PLUS AN STRONG GAS SMELL IN THE
CABIN AND OIL COMPARTMENT!! I DRIVE MY CAR
APPROXIMATELY 20 MILES A DAY MIXED DRIVING, HIGHWAY AND
CITY!!


NHTSA ID Number: 11098691
Date of Incident: 04/06/2018
Consumer Location: PLAINVIEW, MN
Vehicle Identification No. (VIN): 5J6RW2H51HL...
SUMMARY:
DURING THE FIRST OIL CHANGE WE REMOVED OVER 5 QUARTS OF
LIQUID. THE OWNERS MANUAL STATES THAT THE CAR HOLDS
ONLY 3.7 QUARTS OF OIL. WE CONTACTED THE DEALERSHIP WE

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BOUGHT IT FROM AND THEY INFORMED US THAT THIS IS A
KNOWN ISSUE FOR THE 2017 HONDA CR-V. GAS IS GETTING INTO
THE OIL. I AM NOW GETTING FREE OIL CHANGES, THEY STATED I
SHOULD COME IN FOR AN OIL CHANGE WHENEVER THE LIQUID
RISES ABOVE THE FILL LINE ON THE DIPSTICK. I HAVE MANAGED
TO GET AN OIL CHANGE EVERY 7010 DAYS SINCE APRIL 12, 2018.
THE LAST OIL CHANGE I HAD THERE WAS AT LEAST 1 QUART OF
GAS IN THE OIL DRAINED OUT OF THE RESERVOIR. THAT WAS 10
DAYS AFTER THE LAST OIL CHANGE. I HAVE CONTACTED HONDA
NUMEROUS TIMES AND THE ONE TIME I ACTUALLY TALKED TO
MY CASE MANAGER SHE TOLD ME THAT IT WAS NORMAL
OPERATION AND HONDA IS NOT CONSIDERING THIS AN ISSUE.
EVERYTHING I HAVE READ SO FAR STATES THAT EXCESS GAS IN
THE OIL IS AN ISSUE AND VERY BAD FOR THE ENGINE. I AM
CONCERNED THAT MOST CONSUMERS WHO PURCHASED A 2017
HONDA CR-V ARE NOT AWARE OF THIS ISSUE.


NHTSA ID Number: 11096603
Incident Date April 17, 2018
Consumer Location SUPERIOR, CO
Vehicle Identification Number 2HKRW2H89HH****
Summary of Complaint
I BOUGHT THIS 2017 CRV EXL-NAV AWD IN 05/2017. WE DID THE
FIRST MAINTENANCE ON MARCH 17 TO CHANCE OIL AT 8000
MILES. THERE IS OIL LEAKAGE, I WILL TALK THIS ON ANOTHER
COMPLAINT. I HEARD THAT THERE IS OIL EXCESSIVE PROBLEM ON
THIS 1.5T ENGINE, SO I CHECKED THE ENGINE OIL LEVEL AT
ABOUT 8800 MILES AND FOUND THAT THE OIL LEVEL IS MORE
THAN 10MM HIGHER THAN THE MAXIMUM MARK ON THE
LIPSTICK. I BROUGHT THE CAR TO DEALER AND THEY SAID IT IS
FINE. I AM VERY UPSET WITH THEIR ANSWER. I HAVE ATTACHED
THE PHOTO, THE OIL LEVEL IS EXCEEDING THE ORANGE PLASTIC
TO THE METAL PART. ACTUALLY CRV HAS BEEN STOPPED FOR
SALE IN CHINA FOR 2 MONTHS UNTIL HONDA INITIATE A RECALL
AND EXTEND THE WARRANTY TO 6 YEARS. RELIABILITY IS THE
MAIN REASON I BOUGHT HONDA, NOW I AM SO DISAPPOINTED.


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WILL NOT CONSIDER ANY HONDA UNLESS THEY OFFER A
SATISFACTORY SOLUTION.


NHTSA ID Number: 11091024
Date of Incident: 04/30/2018
Consumer Location: NEWTOWN SQUARE, PA
Vehicle Identification No. (VIN): 2HKRW2H8XJH...
SUMMARY:
OIL ON DIPSTICK SMELLS LIKE GAS. THE CAR CABIN SMELLS LIKE
GAS AND IT BASICALLY STINKY UNLESS THE CAR WINDOWS ARE
OPEN. GARAGE ALSO SMELLS LIKE GAS WHEN CAR IS PARKED.




NHTSA ID Number: 11092009
Date of Incident: 05/01/2018
Consumer Location: SIMI VALLEY, CA
Vehicle Identification No. (VIN): 2HKRW1H57JH...
SUMMARY:
OIL DILUTION IN THE ENGINE! GAS FUMES SMELL IN THE CABIN
DUE TO IT!


NHTSA ID Number: 11092048
Incident Date May 2, 2018
Consumer Location NASHVILLE, TN
Vehicle Identification Number 2HKRW2H51HH****
Summary of Complaint
MY NEW 2017 HONDA CRV EX THAT ONLY HAS 6850 MILES DRIVEN
ON IT HAS A TERRIBLE DEFECT WITH OIL DILUTION ISSUES DUE


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TO FUEL LEAKING INTO THE OIL PANS CAUSING OVERFLOW AND
DILUTION TO THE OIL THAT IS SUPPOSED TO BE LUBRICATING THE
ENGINE. THE OIL SMELLS VERY POTENT OF FUEL AND ALMOST 1
QUART OF EXTRA FLUID WAS DRAINED FROM THE OIL PAN WHEN
TAKEN INTO THE DEALER AFTER REPORTING THE ISSUE. THE
DEALER AGREED THAT THERE WAS A MAJOR ISSUE WITH FUEL
DILUTING INTO THE OIL BUT WERE TOLD BY THE HONDA
CORPORATE TECH LINE THAT THEY WERE TO JUST REPLACE THE
OIL UNTIL A FIX COMES OUT. THE DEALER TECHNICIANS ASKED
ABOUT CHANGING THE FUEL INJECTORS OR MAYBE A CYLINDER
HEAD REPLACEMENT BUT WERE TOLD NOT TO DO ANYTHING. IT
IS NOT SAFE TO RELEASE THESE CARS BACK TO THE OWNER
KNOWING THERE IS AN DEFECT ISSUE THAT THEY DIDN'T EVEN
REALLY ATTEMPT TO FIX THAT IS CAUSING INTERNAL ENGINE
PARTS TO BREAK DOWN FASTER THAN NORMAL AND COULD
CAUSE SERIOUS SAFETY CONCERNS DUE TO EVENTUAL
BREAKDOWNS LEADING TO WRECKS. THE COMPANIES "FIX" IS TO
GO IN FOR AN OIL CHANGE EVERY 500-1000 MILES EVEN THOUGH
EXCESSIVE FUEL IS STILL MIXING WITH THE OIL. HONDA HAS
REPORTED THAT THIS IS HAPPENING IN COLDER CLIMATES, BUT I
AM STILL HAVING MAJOR ISSUES WITH THIS IN TENNESSEE
WEATHER.


NHTSA ID Number: 11090588
Incident Date May 4, 2018
Consumer Location DULUTH, MN
Vehicle Identification Number 5J6RW2H89HL****
Summary of Complaint
2017 HONDA CRV. CONSUMER WRITES IN REGARDS TO DAMAGE
TO THE ENGINE. *LD
THE CONSUMER WAS ADVISED THAT GASOLINE WAS MIXING
WITH ENGINE OIL. *JS


NHTSA ID Number: 11092132


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Incident Date May 5, 2018
Consumer Location ROSEMOUNT, MN
Vehicle Identification Number N/A
Summary of Complaint
SOMETIMES SMELL OF GAS IN THE PASSENGER COMPARTMENT.
OIL LEVEL HAS INCREASED AND SMELLS LIKE GAS


NHTSA ID Number: 11093050
Incident Date May 9, 2018
Consumer Location KENMORE, NY
Vehicle Identification Number 5J6RW2H84HL****
Summary of Complaint
2017 HONDA CRV. CONSUMER WRITES IN REGARDS TO OIL
DILUTION AND GAS FUME PROBLEM. *LD


NHTSA ID Number: 11097090
Date of Incident: 05/09/2018
Consumer Location: BEAVERTON, OR
Vehicle Identification No. (VIN): 2HKRW2H81JH...
SUMMARY:
VERY STRONG SMELL OF GASOLINE INSIDE THE CAR AND
STANDING BESIDE THE CAR ON THE DRIVERS SIDE AFTER
REFUELING AT GAS STATION. I DID NOT SEE ANY SPILLED GAS OR
ANY LEAKS. SMELL GOT WORSE INSIDE THE CAR ON THE 3 MILE
DRIVE HOME AND WAS VERY STRONG WHEN I PULLED INTO THE
GARAGE. I CHECKED AGAIN ABOUT AN HOUR LATER AND THE
SMELL HAD DECREASED ABOUT 50%


NHTSA ID Number: 11096549


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Date of Incident: 05/09/2018
Consumer Location: SAINT CLAIR SHORES, MI
Vehicle Identification No. (VIN): 7FARW2H5XJE...
SUMMARY:
AFTER DRIVING A SHORT DISTANCE ON A CITY STREET, I NOTICED
A STRONG GAS SMELL IN THE CABIN. I HAVE SINCE READ ON
SOCIAL MEDIA AND WEBSITES WHERE OTHER CR-V OWNERS
HAVE EXPERIENCED THE SAME PROBLEM AND THERE IS AN OIL
DILUTION PROBLEM. EVERY TIME I CHECK THE OIL LEVEL, I CAN
SMELL GAS ON THE DIPSTICK. I AM AWARE HONDA HAS ISSUED A
RECALL IN CHINA FOR THIS SAME ISSUE. THEY NEED TO FIX THE
PROBLEM IN THE U.S. AS WELL AND DO IT IMMEDIATELY.


NHTSA ID Number: 11096702
Incident Date May 16, 2018
Consumer Location FAIRVIEW, PA
Vehicle Identification Number 5FNYF4H59FB****
Summary of Complaint
GAS SMELL IN CABIN OF CAR ON AND OFF FOR 3 MONTHS. TOOK
CAR TO DEALER FOR CHECK. SERVICE REPORTED GAS IN OIL.
HONDA AWARE OF PROBLEM . OIL CHANGE DONE AS PER HONDA
RECOMMENDATION. NO SOLUTION TO GAS CONTAMINATING OIL
IS CURRENTLY AVAILABLE. GAS SMELL WAS PRESENT
SOMETIMES WHILE RUNNING OTHER TIMES PRESENT ON
ENTERING PARKED CAR.


NHTSA ID Number: 11098362
Incident Date May 21, 2018
Consumer Location VACAVILLE, CA
Vehicle Identification Number 5J6RW1H88HL****
Summary of Complaint


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I HEARD THAT THERE IS OIL LEVEL INCREASE PROBLEM ON THIS
MAKE, MODEL, AND YEAR'S ENGINE BECAUSE OF FUEL LEAK, SO I
CHECKED THE ENGINE OIL LEVEL A FEW HUNDRED MILES AFTER
CHANGING THE OIL AND FOUND THAT THE OIL LEVEL IS MUCH
HIGHER THAN THE MAXIMUM MARK ON THE DIPSTICK. I
BROUGHT THE CAR TO DEALER PREVIOUSLY, COMPLAINING OF A
SMELL OF GAS IN THE OIL WHEN I CHECKED IT INITIALLY, AND
THEY SAID IT IS FINE, THAT NOTHING IS WRONG. BOTH TIMES OF
CHECKING THE OIL, THE CAR WAS IN MY GARAGE, STATIONARY,
ON LEVEL GROUND.


NHTSA ID Number: 11098343
Incident Date May 26, 2018
Consumer Location SEATTLE, WA
Vehicle Identification Number 5J6RW2H97HL****
Summary of Complaint
THERE IS CERTAINLY AN EXCESS AMOUNT OF GAS MIXED IN
ENGINE OIL. ONLY FEW WEEKS AFTER OIL CHANGE, THE OIL
LEVEL IS ALREADY 20 MM ABOVE THE MAX LINE. IT'S CERTAINLY
A DESIGN FLAW AND I THINK HONDA SHOULD BE RESPONSIBLE
FOR THIS MISTAKE AND THE CUSTOMERS. IT'S HUGE SAFETY
CONCERN AND HOPE THE RELEVANT RESOURCES CAN TAKE
ACTION TO INVESTIGATE THIS ISSUE.


NHTSA ID Number: 11098520
Date of Incident: 05/29/2018
Consumer Location: CAMDEN, AR
Vehicle Identification No. (VIN): 5J6RM3H3XGL...
SUMMARY:
OIL ISSUE..THERE SEEMS TO BE A RECALL ON HONDA VEHICLES IN
CHINA DUE TO GASOLINE FLOWING INTO THE OIL..MY SON WAS
CHECKING THE OIL AND IT SMELLS LIKE GAS...I HOPE THIS DOES
NOT CASE A FIRE HAZARD AS MY OIL NOW HAS BECOME

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  GASOLINE. YET NO RECALL IN AMERICA WHY?

     91.   Additionally, the following are some examples of the many

complaints submitted to ODI by Honda Civic owners.

  NHTSA ID Number: 11090346
  Date of Incident: 02/13/2018
  Consumer Location: JACKSONVILLE, FL
  Vehicle Identification No. (VIN): 19XFC1F30HE...
  SUMMARY:
  2016 NEW HONDA CIVIC 2.0 ENGINE OIL LEAKING ! ! ! 2017 NEW
  HONDA CIVIC 1.5T ENGINE OIL INCREASED13 MM THE SAME
  STATION 2017. NEW HONDA CIVIC WIPERS BROKEN , REVERSING
  RADAR BROKEN INCREASED OIL 13MM IS NOT A MALFUNCTION!
  ENGINE OIL INCREASED, REPAIRED TWICE, NOT REPAIRED, HONDA
  SAID NO WAY


  NHTSA ID Number: 11083635
  Date of Incident: 04/06/2018
  Consumer Location: SCHWENKSVILLE, PA
  Vehicle Identification No. (VIN): 19XFC1F98HE...
  SUMMARY:
  I HAVE A 2017 HONDA CIVIC WITH THE 1.5 LITER TURBO. I
  STARTED SEEING LOTS OF INFORMATION ON THE CIVIC FORUM
  ABOUT OIL DILUTION SO I DECIDED TO HAVE MY ENGINE OIL
  ANALYZED. THE REPORT CAME BACK SAYING THAT THE AMOUNT
  OF FUEL IN MY OIL WAS GREATER THAN 5% WHICH WAS DEEMED
  CRITICAL . THIS CONDITION WILL CAUSE ENGINE FAILURE AND
  POSSIBLE UNSAFE CONDITIONS.




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                        CLASS ACTION ALLEGATIONS

      92.    Plaintiffs bring this action on behalf of themselves, and on behalf of

the following nationwide class pursuant to FED. R. CIV. P. 23(a), 23(b)(2), and/or

23(b)(3). Specifically, the nationwide class consists of the following:

      Nationwide Class:
      All persons or entities in United States who are current or former owners
      and/or lessees of a Class Vehicle (the “Nationwide Class”).

      93.    In the alternative to the Nationwide Class, and pursuant to FED. R.

CIV. P. 23(c)(5), Plaintiffs seek to represent the following state classes only in the

event that the Court declines to certify the Nationwide Class above:

      Minnesota Class:
      All persons or entities in Minnesota who are current or former owners and/or
      lessees of a Class Vehicle (the “Minnesota Class”).

      Florida Class:
      All persons or entities in Florida who are current or former owners and/or
      lessees of a Class Vehicle (the “Florida Class”).

      California Class:
      All persons or entities in California who are current or former owners and/or
      lessees of a Class Vehicle (the “California Class”).

      94.    Together, the Minnesota Class, Florida Class and California Class

shall be collectively referred to herein as the “State Sub-Classes.” Excluded from

the Classes are Defendants, their affiliates, employees, officers and directors,

persons or entities that purchased the Class Vehicles for resale, and the Judge(s)

assigned to this case. Plaintiffs reserve the right to modify, change or expand the



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Class definitions.

      95.      Numerosity: Upon information and belief, the Classes are so

numerous that joinder of all members is impracticable. While the exact number and

identities of individual members of the Classes are unknown at this time, such

information being in the sole possession of Defendants and obtainable by Plaintiffs

only through the discovery process, Plaintiffs believe that thousands of Class

Vehicles have been sold and leased in each of the states that are the subject of the

Classes.

      96.      Existence and Predominance of Common Questions of Fact and Law:

Common questions of law and fact exist as to all members of the Classes. These

questions predominate over the questions affecting individual Class members.

These common legal and factual questions include, but are not limited to:

            a. whether the engines in the Class Vehicles are predisposed to

               premature failure;

            b. whether the engines in the Class Vehicles contain a manufacturing or

               other defect;

            c. whether the defective PCV system is common to all or some of the

               Class Vehicles;

            d. if so, whether the Engine Defect causes engines to fail in the Class

               Vehicles;



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            e. whether Defendants knowingly failed to disclose the existence and

               cause of the Engine Defect in Class Vehicles;

            f. whether Defendants’ conduct violates the Minnesota Prevention of

               Consumer Fraud Act;

            g. whether, as a result of Defendants’ omissions and/or

               misrepresentations of material facts related to the Engine Defect,

               Plaintiffs and members of the Class have suffered ascertainable loss of

               monies and/or property and/or value;

            h. whether, as a result of Defendants’ omissions and/or

               misrepresentations of material facts related to the Engine Defect,

               Plaintiffs and members of the Class have suffered an increased cost of

               maintenance related to the Class Vehicles; and

            i. whether Plaintiffs and Class members are entitled to monetary

               damages and/or other remedies and, if so, the nature of any such

               relief.

      97.      Typicality: All of the Plaintiffs’ claims are typical of the claims of the

Classes since Plaintiffs purchased Class Vehicles with Engine Defects and

defective vehicle designs, as did each member of the Class. Furthermore, Plaintiffs

and all members of the Classes sustained monetary and economic injuries

including, but not limited to, ascertainable loss arising out of Defendants’ wrongful



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conduct. Plaintiffs are advancing the same claims and legal theories on behalf of

themselves and all absent Class members.

      98.    Adequacy: Plaintiffs are adequate representatives because their

interests do not conflict with the interests of the Classes that they seek to represent,

they have retained counsel competent and highly experienced in complex class

action litigation, and they intend to prosecute this action vigorously. The interests

of the Classes will be fairly and adequately protected by Plaintiffs and their

counsel.

      99.    Superiority: A class action is superior to all other available means of

fair and efficient adjudication of the claims of Plaintiffs and members of the

Classes. The injury suffered by each individual Class member is relatively small in

comparison to the burden and expense of individual prosecution of the complex

and extensive litigation necessitated by Defendants’ conduct. It would be virtually

impossible for members of the Classes to individually and effectively redress the

wrongs done to them. Even if the members of the Classes could afford such

individual litigation, the court system could not. Individualized litigation presents a

potential for inconsistent or contradictory judgments. Individualized litigation also

increases the delay and expense to all parties, and to the court system, presented by

the complex legal and factual issues of the case. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of



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single adjudication, economy of scale, and comprehensive supervision by a single

court. Upon information and belief, members of the Classes can be readily

identified and notified based on, inter alia, Defendants’ vehicle identification

numbers (VINs), warranty claims, registration records, and the database of

complaints.

      100. Injunctive Relief: Pursuant to Fed. R. Civ. P. 23(b)(2), Defendants

have acted or refused to act on grounds generally applicable to the Classes, thereby

making appropriate final injunctive relief, corresponding declaratory relief, or final

equitable relief with respect to the class as a whole.

                            VIOLATIONS ALLEGED

                            COUNT I
   VIOLATION OF THE MINNESOTA PREVENTION OF CONSUMER
              FRAUD ACT (MINN. STAT. § 325F.68-70)
                (On Behalf of the Minnesota Class)


      101. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      102. Plaintiffs and members of the Classes are each “persons” as defined

by the Minnesota Prevention of Consumer Fraud Act (“MPCFA”), MINN. STAT. §

325F.68(2). The Class Vehicles sold or leased to Plaintiffs and the Classes are

“Merchandise” as defined by MINN. STAT. § 325F.68(2).

      103. The MPCFA makes unlawful “[t]he act, use, or employment by any



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person of any fraud, false pretense, false promise, misrepresentation, misleading

statement or deceptive practice, with the intent that others rely thereon in

connection with the sale of any merchandise, whether or not any person has in fact

been misled, deceived, or damaged thereby.” MINN. STAT. § 325F.69(1). The

MPCFA further provides that “any person injured by a violation of [the MPCFA]

may bring a civil action and recover damages, together with costs and

disbursements, including costs of investigation and reasonable attorney's fees, and

receive other equitable relief as determined by the court.” MINN. STAT. § 8.31(3a).

      104. Defendants engaged in unlawful conduct in violation of the MPCFA

by making knowing and intentional omissions. Defendants knowingly failed to

disclose the manufacturing and/or material Engine Defect in the Class Vehicles in

order to secure the sale of the Vehicles, and to offer them at a premium price.

      105. Furthermore, when the engines in the Class Vehicles fail to function

properly and require repair due to the Engine Defect, Defendants also do not reveal

to Class members that such premature engine failure is the result of a

manufacturing and/or material defect actually caused by Defendants. Instead, Class

members are forced to pay out of pocket for repairs necessitated by Defendants’

defective product.

      106. Defendants did not fully and truthfully disclose to its customers the

true nature of the inherent defect in the engines, which was not readily



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discoverable until after the Vehicles were purchased. As a result, Plaintiffs and the

other Class members were fraudulently induced to lease and/or purchase the Class

Vehicles with the said Engine Defect and all of the resultant problems. These facts

that Defendants concealed were solely within their possession.

        107. Defendants intended that Plaintiffs and all Class members rely on the

acts of concealment and omissions, so that they would purchase the Class

Vehicles.

        108. Defendants’ conduct caused Plaintiffs and Class members to suffer an

ascertainable loss. In addition to direct monetary losses, Plaintiffs and Class

members have suffered an ascertainable loss by receiving less than what was

promised.

        109. A causal relationship exists between Defendants’ unlawful conduct

and the ascertainable losses suffered by Plaintiffs and the Classes. Had the Engine

Defect in the Class Vehicles been disclosed, consumers would not have purchased

them or would have paid less for the Class Vehicles had they decided to purchase

them.

        110. Plaintiffs and the Classes sustained damages as a result of Defendants’

unlawful acts and are, therefore, entitled to damages and other relief as provided

under the MPCFA.




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                                COUNT II
                      VIOLATION OF THE FLORIDA
              DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                       (On Behalf of the Florida Class)

      111. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      112. The purpose of the Florida Deceptive and Unfair Trade Practices Act

(“FDUTPA”) is “to protect the consuming public and legitimate business

enterprises from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

commerce.” FLA. STAT. § 501.202 (2).

      113. Defendant has engaged in unfair competition and unfair, unlawful or

fraudulent business practices by the practices described above, and by knowingly

and intentionally concealing from Plaintiffs and Class members the fact that the

Class Vehicles suffer from a manufacturing and design defect (and the costs, risks,

and diminished value of the Vehicles as a result of this problem), which was not

readily discoverable until after purchase. Defendant should have disclosed this

information because they were in a superior position to know the true facts related

to this defect, and Plaintiffs and Class members could not reasonably be expected

to learn or discover the true facts related to this defect until after manifestation of

the defect.

      114. These unfair methods of competition and unfair and deceptive acts

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have caused injuries to Plaintiffs and members of the Classes.

                                 COUNT III
                       BREACH OF THE IMPLIED
                  WARRANTY OF MERCHANTABILITY
              (On Behalf of the California Class, Pursuant to the
            Song-Beverly Act California Civil Code Section 1791.1)

      115. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      116. Plaintiffs bring this cause of action against Defendants on behalf of

themselves and on behalf of the members of the California Class.

      117. Defendants were at all relevant times the manufacturer, distributor,

warrantor, and/or seller of the Class Vehicles. Defendants knew or had reason to

know of the specific use for which the Class Vehicles were purchased.

      118. Defendants provided Plaintiffs and Class Members with an implied

warranty that the Class Vehicles and any parts thereof are merchantable and fit

for the ordinary purposes for which they were sold. However, the Class Vehicles

are not fit for their ordinary purpose of providing reasonably reliable and safe

transportation because, inter alia, the Class Vehicles and their engines suffered

from an inherent defect at the time of sale and thereafter are not fit for their

particular purpose of providing safe and reliable transportation.

      119. Defendants impliedly warranted that the Class Vehicles were of

merchantable quality and fit for such use. This implied warranty included, among



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other things: (i) a warranty that the Class Vehicles and their engines were

manufactured, supplied, distributed, and/or sold by Defendants were safe and

reliable for providing transportation; and (ii) a warranty that the Class Vehicles

and their engines would be fit for their intended use while the Class Vehicles

were being operated.

      120. Contrary to the applicable implied warranties, the Class Vehicles and

their engines at the time of sale and thereafter were not fit for their ordinary and

intended purpose of providing Plaintiffs and the Class Members with reliable,

durable, and safe transportation.     Instead, the Class Vehicles are defective,

including but not limited to the defective design and manufacture of their engines.

      121. Defendant’s actions, as complained of herein, breached the implied

warranty that the Class Vehicles were of merchantable quality and fit for such

use in violation of California Civil Code §§ 1792 and 1791.1.

                                  COUNT IV
           Violation of California’s Consumer Legal Remedies Act,
                   California Civil Code section 1750 et seq.
                      (On Behalf of the California Class)

      122. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      123. Plaintiffs bring this cause of action on behalf of themselves and on

behalf of the members of the California Class.

      124. Defendants are “persons” as defined by California Civil Code §


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1761(c).

      125. Plaintiffs and Class Members are “consumers” within the meaning

of California Civil Code § 1761(d).

      126. By failing to disclose and concealing the defective nature of the

Class Vehicles’ engines from Plaintiffs and prospective Class Members,

Defendants violated California Civil Code § 1770(a), as they represented that the

Class Vehicles and their engines had characteristics and benefits that they do not

have, and represented that the Class Vehicles and their engines were of a

particular standard, quality, or grade when they were of another. See Cal. Civ.

Code §§ 1770(a)(5) & (7).

      127. Defendants’ unfair and deceptive acts or practices occurred

repeatedly in Defendants’ trade or business, were capable of deceiving a

substantial portion of the purchasing public, and imposed a serious safety risk on

the public.

      128. Defendants knew that the Class Vehicles and their engines suffered

from an inherent defect, were defectively designed or manufactured, would fail

prematurely, and were not suitable for their intended use.

      129. Defendants were under a duty to Plaintiffs and the Class Members

to disclose the defective nature of the engines and/or the associated repair costs

because:



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         a. Defendants were in a superior position to know the true state of facts
            about the safety defect in the Class Vehicles’ engines;

         b. Plaintiffs and the Class Members could not reasonably have been
            expected to learn or discover that their engines had a dangerous
            safety defect until the Engine Defect manifested; and

         c. Defendants knew that Plaintiffs and the Class Members could not
            reasonably have been expected to learn or discover the Engine
            Defect.

      130. In failing to disclose the defective nature of the engines, Defendants

have knowingly and intentionally concealed material facts and breached their

duty not to do so.

      131. The facts concealed or not disclosed by Defendants to Plaintiffs and

the Class Members are material in that a reasonable consumer would have

considered them to be important in deciding whether or not to purchase the Class

Vehicles or pay a lesser price. Had Plaintiffs and other Class Members known

that the Class Vehicles’ engines were defective, they would not have purchased

the Class Vehicles or would have paid less for them.

      132. Plaintiffs and the Class Members are reasonable consumers who do

not expect the engines installed in their vehicles to fail prematurely. This is the

reasonable and objective consumer expectation relating to the Class Vehicles.

      133. As a result of Defendants’ conduct, Plaintiffs and Class Members

have been harmed and have suffered actual damages in that the Class Vehicles

have experienced and will continue to experience premature engine failures.


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      134. As a direct and proximate result of Defendants’ unfair or deceptive

acts or practices, Plaintiffs and Class Members have suffered and will continue

to suffer actual damages.

      135. Plaintiffs and the Class are entitled to equitable relief.

      136. Plaintiff Bautista on behalf of himself and all prospective Class

Vehicle owners provided Defendants with notice of its alleged violations of the

CLRA pursuant to California Civil Code § 1782(a). If Defendants fail to provide

appropriate relief for their violations of the CLRA, Plaintiffs intend to amend this

Complaint to seek monetary, compensatory, and punitive damages from

Defendants in addition to the injunctive and equitable relief that is currently sought.

                                  COUNT V
     Violation of California Business & Professions Code § 17200, et seq.
                      (On Behalf of the California Class)

      137. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      138. Plaintiffs bring this cause of action on behalf of themselves and on

behalf of the California Class.

      139. California Business & Professions Code § 17200 prohibits acts of

“unfair competition,” including any “unlawful, unfair or fraudulent business act

or practice” and “unfair, deceptive, untrue or misleading advertising.”

      140. Plaintiffs and the Class Members are reasonable consumers who do



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not expect their engines to prematurely fail.

        141. Defendants knew the Class Vehicles and their engines suffered from

inherent defects, were defectively manufactured, would fail prematurely, and

were not suitable for their intended use.

        142. In failing to disclose the Engine Defect, Defendants have knowingly

and intentionally concealed material facts and breached their duty not to do so.

        143. Defendants were under a duty to Plaintiffs and the Class Members

to disclose the defective nature of the Class Vehicles and their engines:

           d. Defendants were in a superior position to know the true state of facts
              about the safety defect in the Class Vehicles’ engines;

           e. Defendants made partial disclosures about the quality of the Class
              Vehicles without revealing the defective nature of the Class Vehicles
              and their engines; and

           f. Defendants actively concealed the defective nature of the Class
              Vehicles and their engines from Plaintiffs and the Class.

        144. The facts concealed or not disclosed by Defendants to Plaintiffs and

the Class Members are material in that a reasonable person would have

considered them to be important in deciding whether to purchase Class Vehicles.

Had Plaintiffs and other Class Members known that the Class Vehicles’ engines

were defective and posed a safety hazard, then Plaintiffs and the other Class

Members would not have purchased Class Vehicles, or would have paid less for

them.

        145. Defendants continued to conceal the defective nature of the Class

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Vehicles and their engines even after Class Members began to report problems.

Indeed, Defendants continue to cover up and conceal the true nature of the

problem.

      146. By their conduct, Defendants have engaged in unfair competition

and unlawful, unfair, and fraudulent business practices.

      147. Defendants’ unfair or deceptive acts or practices occurred repeatedly

in Defendant’s trade or business, and were capable of deceiving a substantial

portion of the purchasing public.

      148. As a direct and proximate result of Defendants’ unfair and deceptive

practices, Plaintiffs and the Class have suffered and will continue to suffer actual

damages.

      149. Defendants have been unjustly enriched and should be required to

make restitution to Plaintiffs and the Class pursuant to §§ 17203 and 17204 of the

Business & Professions Code.

                                  COUNT VI
                   BREACH OF EXPRESS WARRANTY
           (On Behalf of the Nationwide Class and State Sub-Classes)

      150. Plaintiffs and the Classes incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      151. Defendants expressly warranted that the Class Vehicles were of high

quality and, at a minimum, would actually work properly. Defendants also



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expressly warranted that they would repair and/or replace defects in material

and/or workmanship free of charge that occurred during the New Vehicle Limited

Warranty, Powertrain Limited Warranty and certified pre-owned (“CPO”)

warranty periods.

      152. Defendants breached these warranties by selling to Plaintiffs and

Class members the Class Vehicles with known engine problems, which are not of

high quality, and which fail prematurely and/or fail to function properly.

      153. As a result of the Defendants’ actions, Plaintiffs and Class members

have suffered economic damages including but not limited to costly repairs, loss of

vehicle use, substantial loss in value and resale value of the vehicles, and other

related damage.

      154. Defendants’ attempt to disclaim or limit these express warranties vis-

à-vis consumers is unconscionable and unenforceable under the circumstances

here. Specifically, Defendants’ warranty limitations are unenforceable because

they knowingly sold a defective product without informing consumers about the

manufacturing and/or material defect. Furthermore, Defendants continue to charge

Class members for repairing the defective engines – if they repair them at all --

when in fact such repairs are actually necessitated because of Defendants’

defective product.

      155. The time limits contained in Defendants’ warranty periods were also



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unconscionable and inadequate to protect Plaintiffs and members of the Class.

Among other things, Plaintiffs and Class members had no meaningful choice in

determining these time limitations, the terms of which unreasonably favored

Defendants. A gross disparity in bargaining power existed between Honda and

Class members, and Honda knew or should have known that the Class Vehicles

were defective at the time of sale and would fail well before their useful lives.

      156. Plaintiffs and Class members have complied with all obligations

under the warranties, or otherwise have been excused from performance of said

obligations as a result of Defendants’ conduct described herein.

                                 COUNT VII
                  BREACH OF IMPLIED WARRANTY
          (On Behalf of the Nationwide Class and State Sub-Classes)

      157. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      158. A warranty that the Class Vehicles were in merchantable condition is

implied by law.

      159. These Class Vehicles, when sold and at all times thereafter, were not

in merchantable condition and are not fit for the ordinary purpose for which cars

are used. Specifically, the Class Vehicles are inherently defective in that there are

defects in the Class Vehicles’ engines, which are not of high quality, and which

fail prematurely and/or fail to function properly.



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      160. Defendants were provided notice of these issues by numerous

informal and formal complaints filed against them, including the instant

Complaint, and by numerous individual letters and communications sent by

Plaintiffs and other Class members.

      161. As a direct and proximate result of Defendants’ breach of the

warranties of merchantability, Plaintiffs and the other Class members have been

damaged in an amount to be proven at trial.

                                COUNT VIII
                          COMMON LAW FRAUD
          (On Behalf of the Nationwide Class and State Sub-Classes)

      162. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      163. Defendants made material omissions concerning a presently existing

or past fact. For example, Defendants did not fully and truthfully disclose to its

customers the true nature of the inherent design defect with the Class Vehicles’

engines, which was not readily discoverable until after the Vehicles were

purchased. As a result, Plaintiffs and the other Class members were fraudulently

induced to lease and/or purchase the Class Vehicles with the said Engine Defect

and all of the resultant problems.

      164. These omissions were made by Defendants with knowledge of their

falsity, and with the intent that Plaintiffs and Class members rely upon them.



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      165. Plaintiffs and Class members reasonably relied on these omissions,

and suffered damages as a result.

                                 COUNT IX
                 BREACH OF THE DUTY OF GOOD FAITH
                             AND FAIR DEALING
            (On Behalf of the Minnesota and California Sub-Classes)

      166. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      167. Every contract in Minnesota and California contains an implied

covenant of good faith and fair dealing. The implied covenant of good faith and

fair dealing is an independent duty and may be breached even if there is no breach

of a contract's express terms.

      168. Defendants breached the covenant of good faith and fair dealing

through malicious conduct by, inter alia, failing to notify Plaintiffs and Class

members of the Engine Defect in the Class Vehicles, and failing to fully and

properly repair this defect.

      169. Defendants acted in bad faith and/or with a malicious motive to deny

Plaintiffs and Class members some benefit of the bargain originally intended by

the parties, thereby causing them injuries in an amount to be determined at trial.

                                  COUNT X
                           UNJUST ENRICHMENT
           (On Behalf of the Nationwide Class and State Sub-Classes)

      170. Plaintiffs and the Class incorporate the foregoing allegations. This

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count is pled in the alternative to the contract-based claims.

      171. Plaintiffs and members of the Class conferred a benefit on

Defendants.

      172. Defendants had knowledge that this benefit was conferred upon them.

      173. Defendants have been and continue to be unjustly enriched at the

expense of Plaintiffs, and their retention of this benefit under the circumstances

would be inequitable.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of themselves and members of the

Classes, respectfully requests that this Court:

      A.      determine that the claims alleged herein may be maintained as a class

              action under Rule 23 of the Federal Rules of Civil Procedure, and

              issue an order certifying the Classes as defined above;

      B.      appoint Plaintiffs as the representative of the Classes and their counsel

              as Class counsel;

      C.      award all actual, general, special, incidental, statutory, punitive, and

              consequential damages to which Plaintiffs and Class members are

              entitled;

      D.      award pre-judgment and post-judgment interest on such monetary

              relief;



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      E.    grant appropriate injunctive and/or declaratory relief, including,

            without limitation, an order that requires Defendants to repair, recall,

            and/or replace the Class Vehicles and to extend the applicable

            warranties to a reasonable period of time, or, at a minimum, to

            provide Plaintiffs and Class members with appropriate curative notice

            regarding the existence and cause of the design defect;

      F.    award reasonable attorney’s fees and costs; and

      G.    grant such further relief that this Court deems appropriate.


Dated: June 5, 2018

                                      Respectfully submitted,


                                      GUSTAFSON GLUEK PLLC


                                By:   s/ Daniel C. Hedlund
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